Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 1 of 123 Page ID #:31292




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   13
                            UNITED STATES DISTRICT COURT
   14
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   15
   16 VANESSA BRYANT,                              Case No. 2:20-cv-09582-JFW-E
                                                   (Consolidated with 2:20-cv-10844-
   17              Plaintiff,                      JFW-E)
   18        vs.                                   FINAL EXHIBITS PRE-TRIAL
                                                   STIPULATION
   19 COUNTY OF LOS ANGELES, et al.,
   20              Defendants.                     Trial Date: August 10, 2022
   21                                              The Honorable John F. Walter
   22 CHRISTOPHER L. CHESTER,
   23              PLAINTIFF,
   24        vs.
   25
        COUNTY OF LOS ANGELES, et al.,
   26
                   Defendants.
   27
   28

                                FINAL EXHIBITS PRE-TRIAL STIPULATION
Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 2 of 123 Page ID #:31293




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      ARLIN KAHAN, and TONY IMBRENDA
   17
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   25
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   27
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                               FINAL EXHIBITS PRE-TRIAL STIPULATION
Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 3 of 123 Page ID #:31294




    1        Pursuant to Section 6 (e) of the Court’s Amended Scheduling and Case
    2 Management Order (see ECF No. 86 at 25), Plaintiffs Vanessa Bryant and
    3 Christopher L. Chester (“Plaintiffs”) and Defendants County of Los Angeles, Los
    4 Angeles County Sheriff’s Department, Los Angeles County Fire Department, Joey
    5 Cruz, Rafael Mejia, Michael Russel, Raul Versales, Arlin Kahan, and Tony
    6 Imbrenda (collectively, “Defendants”), submit this Final Exhibits Pre-trial
    7 Stipulation.
    8
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                               FINAL EXHIBITS PRE-TRIAL STIPULATION
                      Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 4 of 123 Page ID #:31295
                                                      Plaintiffs’ Exhibits
                                                                                                         Grounds for
Ex.                                                 If Objection, Grounds for                                               Court’s Pretrial
            Description              Witness                                    Response to Objection   Refusing to Stip.
No.                                                         Objection                                                       Ruling (If Any)
                                                                                                        to Authenticity
      Email string between R.
      Mendez and T. Schrader
1                               Mendez, Gutierrez
      (LASD) re Contact us -
      LASD.Org "Kobe"
      Channel 7 of
      COLA001424 –
      California Baja Bar &     Mendez, Cruz,
2A
      Grill Surveillance        Gutierrez, Valdez
      Footage – 1/28/2020,
      20:20-20:31
      Channel 8 of
      COLA001424 –
      California Baja Bar &     Mendez, Cruz,
2B
      Grill Surveillance        Gutierrez, Valdez
      Footage – 1/28/2020,
      20:20-20:31
      Channel 9 of
      COLA001424 –
      California Baja Bar &     Mendez, Cruz,
2C
      Grill Surveillance        Gutierrez, Valdez
      Footage – 1/28/2020,
      20:20-20:31
      Channel 11 of
      COLA001424 –
      California Baja Bar &     Mendez, Cruz,
2D
      Grill Surveillance        Gutierrez, Valdez
      Footage – 1/28/2020,
      20:20-20:31




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                      Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 5 of 123 Page ID #:31296
                                                       Plaintiffs’ Exhibits
                                                                                                       Grounds for
Ex.                                               If Objection, Grounds for                                               Court’s Pretrial
            Description            Witness                                    Response to Objection   Refusing to Stip.
No.                                                       Objection                                                       Ruling (If Any)
                                                                                                      to Authenticity
      Channel 13 of
      COLA001424 –
      California Baja Bar &   Mendez, Cruz,
2E
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      20:20-20:31
      Channel 15 of
      COLA001424 –
      California Baja Bar &   Mendez, Cruz,
2F
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      20:20-20:31
      Channel 16 of
      COLA001424 –
      California Baja Bar &   Mendez, Cruz,
2G
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      20:20-20:31
      Channel 7 of
      COLA001430 –
      California Baja Bar &   Mendez, Cruz,
3A
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:21-21:32
      Channel 8 of
      COLA001430 –
      California Baja Bar &   Mendez, Cruz,
3B
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:21-21:32


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                      Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 6 of 123 Page ID #:31297
                                                       Plaintiffs’ Exhibits
                                                                                                       Grounds for
Ex.                                               If Objection, Grounds for                                               Court’s Pretrial
            Description            Witness                                    Response to Objection   Refusing to Stip.
No.                                                       Objection                                                       Ruling (If Any)
                                                                                                      to Authenticity
      Channel 9 of
      COLA001430 –
      California Baja Bar &   Mendez, Cruz,
3C
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:21-21:32
      Channel 11 of
      COLA001430 –
      California Baja Bar &   Mendez, Cruz,
3D
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:21-21:32
      Channel 13 of
      COLA001430 –
      California Baja Bar &   Mendez, Cruz,
3E
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:21-21:32
      Channel 15 of
      COLA001430 –
      California Baja Bar &   Mendez, Cruz,
3F
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:21-21:32
      Channel 16 of
      COLA001430 –
      California Baja Bar &   Mendez, Cruz,
3G
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:21-21:32


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                      Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 7 of 123 Page ID #:31298
                                                       Plaintiffs’ Exhibits
                                                                                                       Grounds for
Ex.                                               If Objection, Grounds for                                               Court’s Pretrial
            Description            Witness                                    Response to Objection   Refusing to Stip.
No.                                                       Objection                                                       Ruling (If Any)
                                                                                                      to Authenticity
      Channel 7 of
      COLA001431 –
      California Baja Bar &   Mendez, Cruz,
4A
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:32-21:42
      Channel 8 of
      COLA001431 –
      California Baja Bar &   Mendez, Cruz,
4B
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:32-21:42
      Channel 9 of
      COLA001431 –
      California Baja Bar &   Mendez, Cruz,
4C
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:32-21:42
      Channel 11 of
      COLA001431 –
      California Baja Bar &   Mendez, Cruz,
4D
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:32-21:42
      Channel 13 of
      COLA001431 –
      California Baja Bar &   Mendez, Cruz,
4E
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:32-21:42


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                      Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 8 of 123 Page ID #:31299
                                                       Plaintiffs’ Exhibits
                                                                                                       Grounds for
Ex.                                               If Objection, Grounds for                                               Court’s Pretrial
            Description            Witness                                    Response to Objection   Refusing to Stip.
No.                                                       Objection                                                       Ruling (If Any)
                                                                                                      to Authenticity
      Channel 15 of
      COLA001431 –
      California Baja Bar &   Mendez, Cruz,
4F
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:32-21:42
      Channel 16 of
      COLA001431 –
      California Baja Bar &   Mendez, Cruz,
4G
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:32-21:42
      Channel 7 of
      COLA001432 –
      California Baja Bar &   Mendez, Cruz,
5A
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:42-21:52
      Channel 8 of
      COLA001432 –
      California Baja Bar &   Mendez, Cruz,
5B
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:42-21:52
      Channel 9 of
      COLA001432 –
      California Baja Bar &   Mendez, Cruz,
5C
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:42-21:52


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                      Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 9 of 123 Page ID #:31300
                                                       Plaintiffs’ Exhibits
                                                                                                       Grounds for
Ex.                                               If Objection, Grounds for                                               Court’s Pretrial
            Description            Witness                                    Response to Objection   Refusing to Stip.
No.                                                       Objection                                                       Ruling (If Any)
                                                                                                      to Authenticity
      Channel 11 of
      COLA001432 –
      California Baja Bar &   Mendez, Cruz,
5D
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:42-21:52
      Channel 13 of
      COLA001432 –
      California Baja Bar &   Mendez, Cruz,
5E
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:42-21:52
      Channel 15 of
      COLA001432 –
      California Baja Bar &   Mendez, Cruz,
5F
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:42-21:52
      Channel 16 of
      COLA001432 –
      California Baja Bar &   Mendez, Cruz,
5G
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      21:42-21:52
      Channel 7 of
      COLA001434 –
      California Baja Bar &   Mendez, Cruz,
6A
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:03-22:13


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                          Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 10 of 123 Page ID
                                                       Plaintiffs’ Exhibits
                                                           #:31301

                                                                                                       Grounds for
Ex.                                               If Objection, Grounds for                                               Court’s Pretrial
            Description            Witness                                    Response to Objection   Refusing to Stip.
No.                                                       Objection                                                       Ruling (If Any)
                                                                                                      to Authenticity
      Channel 8 of
      COLA001434 –
      California Baja Bar &   Mendez, Cruz,
6B
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:03-22:13
      Channel 9 of
      COLA001434 –
      California Baja Bar &   Mendez, Cruz,
6C
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:03-22:13
      Channel 11 of
      COLA001434 –
      California Baja Bar &   Mendez, Cruz,
6D
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:03-22:13
      Channel 13 of
      COLA001434 –
      California Baja Bar &   Mendez, Cruz,
6E
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:03-22:13
      Channel 15 of
      COLA001434 –
      California Baja Bar &   Mendez, Cruz,
6F
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:03-22:13


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                          Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 11 of 123 Page ID
                                                       Plaintiffs’ Exhibits
                                                           #:31302

                                                                                                       Grounds for
Ex.                                               If Objection, Grounds for                                               Court’s Pretrial
            Description            Witness                                    Response to Objection   Refusing to Stip.
No.                                                       Objection                                                       Ruling (If Any)
                                                                                                      to Authenticity
      Channel 16 of
      COLA001434 –
      California Baja Bar &   Mendez, Cruz,
6G
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:03-22:13
      Channel 7 of
      COLA001435 –
      California Baja Bar &   Mendez, Cruz,
7A
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:13-22:23
      Channel 8 of
      COLA001435 –
      California Baja Bar &   Mendez, Cruz,
7B
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:13-22:23
      Channel 9 of
      COLA001435 –
      California Baja Bar &   Mendez, Cruz,
7C
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:13-22:23
      Channel 11 of
      COLA001435 –
      California Baja Bar &   Mendez, Cruz,
7D
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:13-22:23


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                          Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 12 of 123 Page ID
                                                       Plaintiffs’ Exhibits
                                                           #:31303

                                                                                                       Grounds for
Ex.                                               If Objection, Grounds for                                               Court’s Pretrial
            Description            Witness                                    Response to Objection   Refusing to Stip.
No.                                                       Objection                                                       Ruling (If Any)
                                                                                                      to Authenticity
      Channel 13 of
      COLA001435 –
      California Baja Bar &   Mendez, Cruz,
7E
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:13-22:23
      Channel 15 of
      COLA001435 –
      California Baja Bar &   Mendez, Cruz,
7F
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:13-22:23
      Channel 16 of
      COLA001435 –
      California Baja Bar &   Mendez, Cruz,
7G
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:13-22:23
      Channel 7 of
      COLA001437 –
      California Baja Bar &   Mendez, Cruz,
8A
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:33-22:44
      Channel 8 of
      COLA001437 –
      California Baja Bar &   Mendez, Cruz,
8B
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:33-22:44


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                          Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 13 of 123 Page ID
                                                       Plaintiffs’ Exhibits
                                                           #:31304

                                                                                                       Grounds for
Ex.                                               If Objection, Grounds for                                               Court’s Pretrial
            Description            Witness                                    Response to Objection   Refusing to Stip.
No.                                                       Objection                                                       Ruling (If Any)
                                                                                                      to Authenticity
      Channel 9 of
      COLA001437 –
      California Baja Bar &   Mendez, Cruz,
8C
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:33-22:44
      Channel 11 of
      COLA001437 –
      California Baja Bar &   Mendez, Cruz,
8D
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:33-22:44
      Channel 13 of
      COLA001437 –
      California Baja Bar &   Mendez, Cruz,
8E
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:33-22:44
      Channel 15 of
      COLA001437 –
      California Baja Bar &   Mendez, Cruz,
8F
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:33-22:44
      Channel 16 of
      COLA001437 –
      California Baja Bar &   Mendez, Cruz,
8G
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:33-22:44


                                                                  - 11 -
                          Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 14 of 123 Page ID
                                                       Plaintiffs’ Exhibits
                                                           #:31305

                                                                                                       Grounds for
Ex.                                               If Objection, Grounds for                                               Court’s Pretrial
            Description            Witness                                    Response to Objection   Refusing to Stip.
No.                                                       Objection                                                       Ruling (If Any)
                                                                                                      to Authenticity
      Channel 7 of
      COLA001440 –
      California Baja Bar &   Mendez, Cruz,
9A
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:57-23:05
      Channel 8 of
      COLA001440 –
      California Baja Bar &   Mendez, Cruz,
9B
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:57-23:05
      Channel 9 of
      COLA001440 –
      California Baja Bar &   Mendez, Cruz,
9C
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:57-23:05
      Channel 11 of
      COLA001440 –
      California Baja Bar &   Mendez, Cruz,
9D
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:57-23:05
      Channel 13 of
      COLA001440 –
      California Baja Bar &   Mendez, Cruz,
9E
      Grill Surveillance      Gutierrez, Valdez
      Footage – 1/28/2020,
      22:57-23:05


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                             Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 15 of 123 Page ID
                                                          Plaintiffs’ Exhibits
                                                              #:31306

                                                                                                          Grounds for
Ex.                                                  If Objection, Grounds for                                               Court’s Pretrial
            Description              Witness                                     Response to Objection   Refusing to Stip.
No.                                                          Objection                                                       Ruling (If Any)
                                                                                                         to Authenticity
      Channel 15 of
      COLA001440 –
      California Baja Bar &     Mendez, Cruz,
9F
      Grill Surveillance        Gutierrez, Valdez
      Footage – 1/28/2020,
      22:57-23:05
      Channel 16 of
      COLA001440 –
      California Baja Bar &     Mendez, Cruz,
9G
      Grill Surveillance        Gutierrez, Valdez
      Footage – 1/28/2020,
      22:57-23:05
                                Valdez,
      Article: "L.A. County
                                Villanueva,
      Deputies Shared Graphic
                                Mancinas,
      Photos of Kobe Bryant
12                              Satterfield, Kneer
      Crash Scene, Sources
                                Imbrenda, Jordan,
      Say" by Tchekmedyian,
                                McCloud,
      Pringle, LA Times
                                Marrone, Mendez
                                Tauscher,
      Photo - Google Earth
16                              McGuire, Johnson,
      View 1
                                Katz
                                Tauscher,
      Photo - Google Earth
17                              McGuire, Johnson,
      View 1, Annotated
                                Katz
                                Tauscher,
      Photo - Google Earth
18                              McGuire, Johnson,
      View 2
                                Katz




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                             Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 16 of 123 Page ID
                                                           Plaintiffs’ Exhibits
                                                              #:31307

                                                                                                                  Grounds for
Ex.                                                  If Objection, Grounds for                                                        Court’s Pretrial
            Description              Witness                                         Response to Objection       Refusing to Stip.
No.                                                          Objection                                                                Ruling (If Any)
                                                                                                                 to Authenticity
                                Tauscher,
      Photo - Google Earth
19                              McGuire, Johnson,
      View 2, Annotated
                                Katz
      Email chain between
      Sprewell (LACFD),
      Imbrenda, Cornell,
      Ferguson, Navarez, Lim
25                              Imbrenda, Cornell
      re LA County Sheriff's
      deputies allegedly shared
      photos of Bryant crash
      site
                                                                                                                                     Plaintiffs’
                                                                                                                                     Summary:
                                                                                  Relevant to, among other                           Inadmissible to
                                                                                  things, LAFD’s admission                           prove culpable
                                                                                  that Jordan’s photos did not                       conduct under FRE
                                                    Irrelevant. (FRE 104(b), 401, serve a legitimate purpose;                        407 (Ruling on
                                                    402.)                         investigation findings are                         Plaintiffs’ MIL
      Letter from McCloud       McCloud, Jordan,
                                                    More prejudicial than         not a subsequent remedial                          #5).
26    (LACFD) to Jordan re      Marrone,
                                                    probative. (FRE 403.)         measure and Plaintiff has
      Intention to Discharge    Bercovici
                                                    Subsequent remedial measures. proposed redactions for                            Defendants’
                                                    (FRE 407.)                    references to LAFD’s                               Summary:
                                                                                  contemplated discipline of                         Excluded.
                                                                                  Jordan; not unfairly                               Inadmissible under
                                                                                  prejudicial.                                       FRE 407 (Ruling
                                                                                                                                     on Plaintiffs’ MIL
                                                                                                                                     #5).




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                        Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 17 of 123 Page ID
                                                         Plaintiffs’ Exhibits
                                                         #:31308

                                                 Exhibit 26A is the
                                                 memorandum that was
                                                 attached to the disciplinary        Exhibit 26A is admissible
                                                 letter from LACFD notifying         against Defendants as
                                                 then-Fire Captain Brian Jordan      evidence of factual findings
                                                 of the Department’s intention       set forth in Defendants’
                                                 to discharge him (Exhibit 26).      investigators’ investigative
                                                 At the August 5, 2022 Final         memorandum. Plaintiffs do
                                                 Pretrial Conference, the Court      not seek to preadmit
                                                 ruled that Exhibit 26 was           Exhibit 26A but reserve the
                                                 inadmissible under Fed. R.          right to seek its admission
                                                 Evid. 407. In an attempt to         at trial depending on the
                                                 evade the Court’s ruling,           evidence and argument
                                                 Plaintiffs have separated out       presented by Defendants.
    Sheppard Mullin                              this memorandum as though it        Consistent with the Court’s
    Investigation Report –    McCloud, Jordan,   is an independent exhibit.          instructions during the
    Alleged Taking and        Marrone,           Exhibit 26A was not only            August 5, 2022 hearing, the
    Sharing of Photographs    Imbrenda,          attached to Jordan’s                parties have agreed to file
26A
    from Willow Incident by   Johnson,           disciplinary letter, but was also   supplemental briefing
    Fire Captain Brian        Bercovici,         expressly relied upon for the       regarding the admissibility
    Jordan, at COLA001351     Beshears, Kim      imposition of discipline.           of Exhibit 26A. That
    – COLA001378                                 Exhibit 26A is therefore a          supplemental briefing
                                                 measure taken “that would           contains Plaintiffs’
                                                 have made an earlier injury or      response to Defendants’
                                                 harm less likely to occur,” and     Rule 407 and 403
                                                 is inadmissible to prove            objections.
                                                 culpable conduct. Fed. R.
                                                 Evid. 407. Additionally,            Note: The document is
                                                 Exhibit 26A contains outside        inadmissible hearsay if
                                                 counsel’s assessments of            offered by Defendants
                                                 witness credibility as well as      (FRE 802); plaintiff
                                                 legal conclusions. Admitting        reserves the right to
                                                 these conclusions into evidence     introduce as party
                                                 would improperly invade the         admission (FRE 801).
                                                 province of the jury. Fed. R.
                                                 Evid. 403.

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                   The Ninth Circuit recognized
                   in Maddox v. City of Los
                   Angeles that disciplinary
                   proceedings and investigations
                   made as part of such
                   proceedings are inadmissible
                   subsequent remedial measures
                   in a Section 1983 action. 792
                   F.2d 1408, 1417 (9th Cir.
                   1986). This memorandum is
                   an inadmissible subsequent
                   remedial measure under
                   Maddox. Exhibit 26 expressly
                   identifies Exhibit 26A as the
                   sole document “upon which
                   this proposed action is based.”
                   (See Trial Ex. 26 at 9.) Exhibit
                   26A is also not merely factual,
                   as it contains extensive
                   analysis by outside counsel of
                   whether particular
                   “allegation[s]” were
                   substantiated or not. (See id. at
                   26-28.) Exhibit 26A is part of
                   the imposition of discipline.

                   Plaintiffs contend there is a
                   distinction between “actual
                   disciplining” and
                   “investigation.” Investigation
                   in and of itself may not always
                   be a subsequent remedial
                   measure. But where
                   investigation is part of
                   disciplinary proceedings and

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                   forms the basis for disciplinary
                   action, it constitutes an
                   inadmissible subsequent
                   remedial measure. In Maddox,
                   the Ninth Circuit specifically
                   identified “the Internal Affairs
                   investigation” as part of the
                   remedial measures. 792 F.2d
                   at 1417. And the Ninth Circuit
                   specifically excluded not only
                   actual disciplinary action but
                   also “evidence that during a
                   Police Department disciplinary
                   proceeding defendant Officer
                   Harris admitted to violating the
                   City policy.” Id. (emphasis
                   added). This is precisely the
                   kind of material in the
                   memoranda that Plaintiffs
                   contend may be admitted.
                   Plaintiffs intend to use Exhibit
                   26A as a means of proving
                   culpable conduct by
                   introducing the investigator’s
                   findings, including her
                   assessment of Mr. Jordan’s
                   credibility. Maddox holds
                   otherwise.

                   None of Plaintiffs’ authorities
                   demonstrate that the Ninth
                   Circuit has departed from the
                   rule in Maddox. See, e.g.,
                   Aguilar v. City of Los Angeles,
                   853 F. App’x 92, 95 (9th Cir.
                   2021) (investigation was not

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                   subsequent remedial measure
                   where it “assessed what
                   happened and whether the
                   officers’ actions were
                   consistent with LAPD policy,
                   without meting out discipline
                   or changing LAPD policy.”)
                   (emphasis added); Hansen v.
                   Werner Enterprises Inc., 2016
                   WL 7479349 (C.D. Cal. May
                   18, 2016) (trucking company
                   accident report, which was not
                   part of any official disciplinary
                   proceedings, was not a
                   subsequent remedial measure).
                   Here, LACFD’s decision to
                   terminate Jordan was based
                   entirely on the findings and
                   analysis contained in Exhibit
                   26A, including findings that
                   Jordan took photographs as
                   well as the investigator’s
                   analysis of why photos were
                   taken and shared.

                   Exhibit 26A is not admissible
                   as a party admission under
                   Fed. R. 801(2)(D), as Sheppard
                   Mullin was conducting an
                   independent workplace
                   investigation—not speaking on
                   behalf of LACFD. Exhibit
                   26(A) is replete with hearsay
                   not subject to any
                   exception. Fed. R. Evid. 801;
                   Carson Harbor Village, Ltd. V.

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                                                    Plaintiffs’ Exhibits
                                                          #:31312

                                                                                                         Grounds for
Ex.                                           If Objection, Grounds for                                                      Court’s Pretrial
           Description           Witness                                     Response to Objection      Refusing to Stip.
No.                                                   Objection                                                              Ruling (If Any)
                                                                                                        to Authenticity
                                            Unocal Corp., No. 96-3281
                                            MMM (RCX), 2003 WL
                                            22038700, at *7 (C.D. Cal.
                                            Aug. 3, 2003) (third party’s
                                            report inadmissible hearsay).
                                                                                                                            Plaintiffs’
                                                                                                                            Summary:
                                                                          Relevant to, among other
                                                                                                                            Inadmissible to
                                                                          things, LAFD’s admission
                                                                                                                            prove culpable
                                                                          that Imbrenda’s taking and
                                                                                                                            conduct under FRE
                                            Irrelevant. (FRE 104(b), 401, sharing of photos did not                         407 (Ruling on
                                            402.)                         serve a legitimate purpose;
                             McCloud,                                                                                       Plaintiffs’ MIL
      Letter from McCloud                                                 investigation findings are
                             Imbrenda,      More prejudicial than                                                           #5).
27    (LACFD) to Imbrenda re                                              not a subsequent remedial
                             Marrone,       probative. (FRE 403.)
      Intention to Discharge                                              measure and Plaintiff has
                             Bercovici      Subsequent remedial measures. proposed redactions for                           Defendants’
                                            (FRE 407.)                                                                      Summary:
                                                                          references to LAFD’s
                                                                                                                            Excluded.
                                                                          contemplated discipline of
                                                                                                                            Inadmissible under
                                                                          Imbrenda; not unfairly
                                                                                                                            FRE 407 (Ruling
                                                                          prejudicial.
                                                                                                                            on Plaintiffs’ MIL
                                                                                                                            #5).




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                                                        Plaintiffs’ Exhibits
                                                           #:31313

                                                                                                              Grounds for
Ex.                                               If Objection, Grounds for                                                       Court’s Pretrial
            Description               Witness                                     Response to Objection      Refusing to Stip.
No.                                                       Objection                                                               Ruling (If Any)
                                                                                                             to Authenticity
                                                                                                                                 Plaintiffs’
                                                                                                                                 Summary:
                                                                               Relevant to, among other
                                                                                                                                 Inadmissible to
                                                                               things, LAFD’s admission
                                                                                                                                 prove culpable
                                                                               that Kahan’s taking and
                                                                                                                                 conduct under FRE
                                                 Irrelevant. (FRE 104(b), 401, sharing of photos did not                         407 (Ruling on
                                                 402.)                         serve a legitimate purpose;
                                                                                                                                 Plaintiffs’ MIL
      Letter from McCloud      McCloud, Kahan,                                 investigation findings are
                                                 More prejudicial than                                                           #5).
28    (LACFD) to Kahan re      Marrone,                                        not a subsequent remedial
                                                 probative. (FRE 403.)
      Intention to Suspend     Bercovici                                       measure and Plaintiff has
                                                 Subsequent remedial measures. proposed redactions for                           Defendants’
                                                 (FRE 407.)                                                                      Summary:
                                                                               references to LAFD’s
                                                                                                                                 Excluded.
                                                                               contemplated discipline of
                                                                                                                                 Inadmissible under
                                                                               Imbrenda; not unfairly
                                                                                                                                 FRE 407 (Ruling
                                                                               prejudicial.
                                                                                                                                 on Plaintiffs’ MIL
                                                                                                                                 #5).
      Luis Li Letter to Fire   Marrone,
31    Chief Osby dated March   McCloud, Kim,
      2, 2020                  Scott Johnson
      Newsletter: "The Backup
      Newsletter," Winter 2020
      - California Reserve
35                             Katz
      Peace Officers
      Association Quarterly
      Newsletter
      Email from Katz to
36    "team02@malibusar.org" Katz
      re Kobe Crash
    Transcript – Excerpts of
38A David Katz LASD            Katz, Johnson
    Interview

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                                                          Plaintiffs’ Exhibits
                                                             #:31314

                                                                                                          Grounds for
Ex.                                                  If Objection, Grounds for                                               Court’s Pretrial
            Description             Witness                                      Response to Objection   Refusing to Stip.
No.                                                          Objection                                                       Ruling (If Any)
                                                                                                         to Authenticity
    Audio – Excerpts of
38B David Katz LASD            Katz, Johnson
    Interview
                               Phillips, Mancinas,
                               Jaeger, Bercovici,
    Transcript – Excerpts of   Johnson, Versales,
39A Marcus Phillips LASD       Miller, Mejia,
    Interview                  Jauregui, Kelly,
                               Cable, Cruz,
                               Russell
                               Phillips, Mancinas,
                               Jaeger, Bercovici,
    Audio – Excerpts of        Johnson, Versales,
39B Marcus Phillips LASD       Miller, Mejia,
    Interview                  Jauregui, Kelly,
                               Cable, Cruz,
                               Russell
      Sarah Ellen Chester
      Autopsy Report           Tauscher,
41
      (COLA029922-             McGuire
      COLA029941)
      Payton Chester Autopsy
                               Tauscher,
42    Report (COLA029802-
                               McGuire
      COLA029821)
      Kobe Bryant Autopsy
                               Tauscher,
44    Report (COLA029905-
                               McGuire
      COLA029921)
      Gianna Bryant Autopsy
                               Tauscher,
45    Report (COLA029882-
                               McGuire
      COLA029904)

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                                                            Plaintiffs’ Exhibits
                                                              #:31315

                                                                                                                  Grounds for
Ex.                                                   If Objection, Grounds for                                                       Court’s Pretrial
            Description              Witness                                         Response to Objection       Refusing to Stip.
No.                                                           Objection                                                               Ruling (If Any)
                                                                                                                 to Authenticity
                                Tauscher,
      Photo - Google Earth
46                              McGuire, Johnson,
      View 3
                                Katz
                                Tauscher,
      Photo - Google Earth
47                              McGuire, Johnson,
      View 3, Annotated
                                Katz
                                Tauscher,
      Photo - Google Earth
48                              McGuire, Johnson,
      View 4, Annotated
                                Katz
                                                                                                                                     Not pre-admitted;
                                                                                    Relevant to, among other
                                                    Irrelevant. (FRE 104(b), 401,                                                    Plaintiffs reserve
                                                                                    things, distinguishing
                                                    402.)                                                                            right to introduce;
      Alyssa Altobelli autopsy Tauscher,                                            between victims’ remains
49                                                                                                                                   Defendants reserve
      report                   McGuire              More prejudicial than           to determine which victims
                                                                                                                                     right to object.
                                                    probative. (FRE 403.)           were photographed; not
                                                                                                                                     (Tr. of 7-26-22
                                                                                    unfairly prejudicial.
                                                                                                                                     Hr’g at 69.)
                                                                                                                                     Not pre-admitted;
                                                                                    Relevant to, among other
                                                    Irrelevant. (FRE 104(b), 401,                                                    Plaintiffs reserve
                                                                                    things, distinguishing
                                                    402.)                                                                            right to introduce;
      Christina Mauser autopsy Tauscher,                                            between victims’ remains
50                                                                                                                                   Defendants reserve
      report                   McGuire              More prejudicial than           to determine which victims
                                                                                                                                     right to object.
                                                    probative. (FRE 403.)           were photographed; not
                                                                                                                                     (Tr. of 7-26-22
                                                                                    unfairly prejudicial.
                                                                                                                                     Hr’g at 69.)
                                                                                                                                     Not pre-admitted;
                                                                                    Relevant to, among other
                                                    Irrelevant. (FRE 104(b), 401,                                                    Plaintiffs reserve
                                                                                    things, distinguishing
                                                    402.)                                                                            right to introduce;
      Keri Altobelli autopsy    Tauscher,                                           between victims’ remains
51                                                                                                                                   Defendants reserve
      report                    McGuire             More prejudicial than           to determine which victims
                                                                                                                                     right to object.
                                                    probative. (FRE 403.)           were photographed; not
                                                                                                                                     (Tr. of 7-26-22
                                                                                    unfairly prejudicial.
                                                                                                                                     Hr’g at 69.)

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                                                             Plaintiffs’ Exhibits
                                                            #:31316

                                                                                                                   Grounds for
Ex.                                                    If Objection, Grounds for                                                       Court’s Pretrial
            Description             Witness                                           Response to Objection       Refusing to Stip.
No.                                                            Objection                                                               Ruling (If Any)
                                                                                                                  to Authenticity
                                                                                                                                      Not pre-admitted;
                                                                                     Relevant to, among other
                                                     Irrelevant. (FRE 104(b), 401,                                                    Plaintiffs reserve
                                                                                     things, distinguishing
                                                     402.)                                                                            right to introduce;
      John Altobelli autopsy   Tauscher,                                             between victims’ remains
52                                                                                                                                    Defendants reserve
      report                   McGuire               More prejudicial than           to determine which victims
                                                                                                                                      right to object.
                                                     probative. (FRE 403.)           were photographed; not
                                                                                                                                      (Tr. of 7-26-22
                                                                                     unfairly prejudicial.
                                                                                                                                      Hr’g at 69.)
      Email chain between J.
      Diez, H. Mancinas, M.
      Vander Horck, T.         Diez, Mancinas,
53    Schrader, R. Mendez,     Vander Horck,
      "SIB Media24" re FW:     Mendez
      Contact US - LASD.org
      "Kobe"
      Email chain between
      Diez, Mancinas, Vander
                               Diez, Mancinas,
      Horck, Mendez, "SIB
54                             Vander Horck,
      Media24" re FW:
                               Mendez
      Contact US - LASD.org
      "Kobe"
                               Phillips, Mancinas,
                               Jaeger, Bercovici,
    Transcript – Excerpts of   Johnson, Versales,
55A Hector Mancinas LASD       Miller, Mejia,
    Interview                  Jauregui, Kelly,
                               Cable, Cruz,
                               Russell




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                                                            Plaintiffs’ Exhibits
                                                            #:31317

                                                                                                            Grounds for
Ex.                                                    If Objection, Grounds for                                               Court’s Pretrial
            Description               Witness                                      Response to Objection   Refusing to Stip.
No.                                                            Objection                                                       Ruling (If Any)
                                                                                                           to Authenticity
                                 Phillips, Mancinas,
                                 Jaeger, Bercovici,
    Audio – Excerpts of          Johnson, Versales,
55B Hector Mancinas LASD         Miller, Mejia,
    Interview                    Jauregui, Kelly,
                                 Cable, Cruz,
                                 Russell
                                 Johnson,
      Performance Log Entry
                                 Mancinas, Kneer,
      for Doug Johnson, dated
58                               Valdez,
      February 27, 2020
                                 Villanueva,
      (COLA000747)
                                 Phillips, Bercovici
      Performance Log Entry      Cruz, Mancinas,
      for Joey Cruz, dated       Kneer, Valdez,
59
      February 27, 2020          Villanueva,
      (COLA000745)               Phillips, Bercovici
      Performance Log Entry      Russell, Mancinas,
      for Michael Russell,       Kneer, Valdez,
60
      dated February 27, 2020    Villanueva,
      (COLA000743)               Phillips, Bercovici
      Performance Log Entry      Mejia, Mancinas,
      for Rafael Mejia, dated    Kneer, Valdez,
61
      February 27, 2020          Villanueva,
      (COLA000744)               Phillips, Bercovici
                                 Versales,
      Performance Log Entry
                                 Mancinas, Kneer,
      for Raul Versales, dated
62                               Valdez,
      February 27, 2020
                                 Villanueva,
      (COLA000746)
                                 Phillips, Bercovici


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                                                                Plaintiffs’ Exhibits
                                                             #:31318

                                                                                                                     Grounds for
Ex.                                                       If Objection, Grounds for                                                     Court’s Pretrial
            Description                 Witness                                          Response to Objection      Refusing to Stip.
No.                                                               Objection                                                             Ruling (If Any)
                                                                                                                    to Authenticity
                                                                                        Relevant to, among other
      LASD Notice of                                    Irrelevant. (FRE 104(b), 401,   things, LASD’s admissions
      Completion of            Russell, Mancinas,       402.)                           regarding Russell’s
63    Investigation of Michael Jaeger, Reed,
                                                        More prejudicial than           misconduct with victims’
      Russell, dated August 5, Kneer, Bercovici
                                                        probative. (FRE 403.)           remains photos; not
      2020 (COLA035253-61)
                                                                                        unfairly prejudicial.
      Photo at Golden Mike         Imbrenda, Cornell,
64
      Awards                       Weireter, Scott
      Email of January 29,
      2020 among Jorge
      Valdez, Matthew Vander Valdez, Vander
70    Horck, and John          Horck, Satterfield,
      Satterfield, titled "Re: Bercovici
      Contact US - LASD.org
      'Kobe'" (COLA007168)
      Email of February 26,
      2020 among Alene
      Tchekmedyian, Alex           Valdez,
      Villanueva, Jorge            Villanueva,
72
      Valdez, and Others,          Satterfield,
      titled: "Re: LA Times        Mancinas, Kneer
      follow up re Lost Hills"
      (COLA007318)
      LA Times Article of
      February 28, 2020, titled:   Valdez, Phillips,
      "Deputies were ordered       Mancinas, Vander
73
      to delete Kobe Bryant        Horck, Villanueva,
      crash photos to avoid        Bercovici, Mendez
      discipline, sources say."



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                                                            Plaintiffs’ Exhibits
                                                            #:31319

                                                                                                                  Grounds for
Ex.                                                    If Objection, Grounds for                                                     Court’s Pretrial
            Description               Witness                                        Response to Objection       Refusing to Stip.
No.                                                            Objection                                                             Ruling (If Any)
                                                                                                                 to Authenticity
      Email of March 3, 2020
      Among Robert Boese,
      Jorge Valdez, and Others, Valdez, Satterfield,
82    titled "DRAFT             Villanueva,
      CALABASA White            Mancinas, Phillips
      Sheet responses"
      (COLA007500)
                                                                                    Relevant to, among other
      LASD Watch                                    Irrelevant. (FRE 104(b), 401,   things, LASD’s awareness
      Commander's Service
                                Villanueva, Jaeger, 402.)                           of its personnel taking
85    Comment Report dated
                                Bercovici           More prejudicial than           gratuitous photos of human
      July 31, 2016
                                                    probative. (FRE 403.)           remains; not unfairly
      (COLA035335)
                                                                                    prejudicial.
      Photo - Helicopter
86    Identification            Smith
      Information
      LAFD Incident Log
87                              Smith
      (COLA030606)
                             Smith, Breshears,
    Transcript – Excerpts of Imbrenda, Kahan,
88A Andrew Smith Fire Dep’t Jordan, McCloud,
    Interview                Cornell, Kim,
                             Marrone, Scott
                            Smith, Breshears,
    Audio – Excerpts of     Imbrenda, Kahan,
88B Andrew Smith Fire Dep’t Jordan, McCloud,
    Interview               Cornell, Kim,
                            Marrone, Scott




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                                                         Plaintiffs’ Exhibits
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                                                                                                         Grounds for
Ex.                                                 If Objection, Grounds for                                               Court’s Pretrial
            Description              Witness                                    Response to Objection   Refusing to Stip.
No.                                                         Objection                                                       Ruling (If Any)
                                                                                                        to Authenticity
      Text Message Exchange
      between Plaintiff and
94                           Bryant
      Commander Diana
      Gealta (VB00000094-95)
                                Russell, Sanchez,
    Transcript – Excerpts of
                                Jaeger, Scott
96A Michael Russell LASD
                                Johnson,
    Interview
                                Bercovici, Cruz
                                Russell, Sanchez,
    Audio – Excerpts of
                                Jaeger, Scott
96B Michael Russell LASD
                                Johnson,
    Interview
                                Bercovici, Cruz
      Michael Russell Memo to
      Matthew Vander Horck,
      dated January 30, 2020, Russell, Mancinas,
97
      titled: "Willow Incident Bercovici
      Photographs"
      (COLA000715)
      Summons in a Civil
      Action to Michael         Russell, Scott
98
      Russell dated March 22,   Johnson
      2021




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                                                             Plaintiffs’ Exhibits
                                                           #:31321

                                                                                                                       Grounds for
Ex.                                                    If Objection, Grounds for                                                          Court’s Pretrial
            Description              Witness                                           Response to Objection          Refusing to Stip.
No.                                                            Objection                                                                  Ruling (If Any)
                                                                                                                      to Authenticity
                                                                                     Relevant to, among other
                                                                                     things, Russell’s
                                                                                     dissemination of victims’
                                                     Irrelevant. (FRE 104(b), 401,   remains photos; not
      (Redacted) Cell Records                        402.)                           unfairly prejudicial; the cell
99    of Michael Russell        Russell, Pikor       More prejudicial than           records are circumstantial
      (COLA035636)                                   probative. (FRE 403.)           evidence of dissemination
                                                     Speculation.                    and suspicious phone call
                                                                                     activity while employees
                                                                                     were under scrutiny, not
                                                                                     speculation.
    Rafael Mejia Memo to
    Matthew Vander Horck
    dated January 30, 2020,     Mejia, Mancinas,
101
    titled: "Willow Incident    Bercovici
    Photographs"
    (COLA000713)
    LA Times Article dated
                                Jaeger, Scott
    September 22, 2020,
                                Johnson, Cable,
    titled: "Vanessa Bryant
                                Jauregui, Johnson,
102 sues L.A. County sheriff,
                                Mejia, Miller,
    alleging 'cover-up' of
                                Russell, Sanchez,
    Kobe Bryant crash
                                Versales
    photos"
    LA Times Article dated
                                Jaeger, Scott
    February 27, 2021, titled
                                Johnson, Cable,
    "Vanessa Bryant wants to
                                Jauregui, Johnson,
103 make public names of
                                Mejia, Miller,
    deputies accused of
                                Russell, Sanchez,
    sharing Kobe crash
                                Versales
    photos"

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                                                             Plaintiffs’ Exhibits
                                                           #:31322

                                                                                                                  Grounds for
Ex.                                                    If Objection, Grounds for                                                     Court’s Pretrial
            Description              Witness                                          Response to Objection      Refusing to Stip.
No.                                                            Objection                                                             Ruling (If Any)
                                                                                                                 to Authenticity
                                Jaeger, Scott
    Email Among Counsel         Johnson, Cable,
    dated March 22, 2021        Jauregui, Johnson,
104
    Serving Summons on          Mejia, Miller,
    Deputy Defendants           Russell, Sanchez,
                                Versales
    Summons in a Civil
                                Mejia, Scott
105 Action to Rafael Mejia
                                Johnson
    dated March 22, 2021
    LASD Letter to Rafael                                                            Relevant to, among other
    Mejia re Notice of                               Irrelevant. (FRE 104(b), 401,   things, LASD’s admissions
                                Mejia, Jaeger,       402.)
    Completion of                                                                    regarding Mejia’s
108                             Mancinas, Kneer,
    Investigation, dated                             More prejudicial than           misconduct related to
                                Reed, Bercovici
    August 5, 2020                                   probative. (FRE 403.)           photos of remains; not
    (COLA035244)                                                                     unfairly prejudicial.
    Raul Versales Memo to
    Matthew Vander Horck
                                Versales,
    dated January 30, 2020,
110                             Mancinas,
    titled: "Willow Incident
                                Bercovici
    Photographs"
    (COLA000712)
                                Versales, Johnson,
     Transcript – Excerpts of   Mejia, Kelly,
111A Raul Versales LASD         Jauregui, Jaeger,
     Interview                  Scott Johnson,
                                Bercovici, Miller
                              Versales, Johnson,
     Audio – Excerpts of Raul Mejia, Kelly,
111B Versales LASD            Jauregui, Jaeger,
     Interview                Scott Johnson,
                              Bercovici, Miller
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                                                            Plaintiffs’ Exhibits
                                                             #:31323

                                                                                                                   Grounds for
Ex.                                                   If Objection, Grounds for                                                       Court’s Pretrial
           Description               Witness                                         Response to Objection        Refusing to Stip.
No.                                                           Objection                                                               Ruling (If Any)
                                                                                                                  to Authenticity
                                                                                    Relevant to, among other
    LASD Letter to Raul
                                                    Irrelevant. (FRE 104(b), 401,   things, LASD’s admissions
    Versales re Notice of
                               Versales, Jaeger,    402.)                           regarding Versales’s
    Completion of
112                            Mancinas, Kneer,                                     misconduct in obtaining
    Investigation, dated                            More prejudicial than
                               Reed, Bercovici                                      and sharing photos of crash
    August 5, 2020                                  probative. (FRE 403.)           victims’ remains; not
    (COLA035262-69)
                                                                                    unfairly prejudicial.
                               Jaeger, Kim, Scott
    NBC 4 Article: "Vanessa
                               Johnson, Cable,
    Bryant Files Claim
                               Jauregui, Johnson,
114 Against Sheriff's
                               Mejia, Miller,
    Department Over Photos
                               Russell, Sanchez,
    of Crash Site"
                               Versales
    Email from Joey Cruz to
    himself dated January 30,
117 2020 at 5:52 p.m., titled Cruz
    "Willow Incident"
    (003304)
    Email from Joey Cruz to
    himself dated January 30,
118 2020 at 6:03 p.m., titled Cruz
    "Willow Incident"
    (COLA003310)
    Email from Joey Cruz to
    himself dated January 30,
    2020 at 6:06 p.m.,
119                           Cruz
    attaching "Willow
    Incident.docx"
    (COLA003317)



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                                                           Plaintiffs’ Exhibits
                                                           #:31324

                                                                                                                  Grounds for
Ex.                                                  If Objection, Grounds for                                                       Court’s Pretrial
            Description              Witness                                        Response to Objection        Refusing to Stip.
No.                                                          Objection                                                               Ruling (If Any)
                                                                                                                 to Authenticity
    Email from Joey Cruz to
    himself dated January 30,
    2020 at 6:12 p.m.,
120                           Cruz
    attaching "Willow
    Incident.docx"
    (COLA003326)
    Email from Joey Cruz to
    himself dated January 30,
    2020 at 6:21 p.m.,
121                           Cruz
    attaching "Willow
    Incident.docx"
    (COLA003330)
    Memo from Joey Cruz to
    Matthew Vander Horck
    dated January 30, 2020,
122                          Cruz, Bercovici
    titled: "Willow Incident
    Photographs"
    (COLA000714)
                                Cruz, Mejia,
     Transcript – Excerpts of
                                Russell, Jaeger,
123A Joey Cruz LASD
                                Scott Johnson,
     Interview
                                Bercovici
                              Cruz, Mejia,
     Audio – Excerpts of Joey Russell, Jaeger,
123B
     Cruz LASD Interview      Scott Johnson,
                              Bercovici

                                                   Irrelevant. (FRE 104(b), 401,   Relevant to, among other
    Memo from Salvador
                          Cruz, Jaeger,            402.)                           things, LASD’s findings
    Becerra to William
124                       Reed, Kneer,                                             regarding Cruz’s sharing of
    Jaeger dated July 24,                          More prejudicial than
                          Bercovici                                                victims’ remains photos;
    2020 (COLA035214-19)                           probative. (FRE 403.)           not unfairly prejudicial.
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                          Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 34 of 123 Page ID
                                                              Plaintiffs’ Exhibits
                                                           #:31325

                                                                                                                    Grounds for
Ex.                                                     If Objection, Grounds for                                                       Court’s Pretrial
            Description              Witness                                           Response to Objection       Refusing to Stip.
No.                                                             Objection                                                               Ruling (If Any)
                                                                                                                   to Authenticity
                                Vander Horck,
     Transcript – Excerpts of
                                Mancinas, Kneer,
128A Matthew Vander Horck
                                Villanueva, Jaeger,
     LASD Interview
                                Bercovici, Valdez
                                Vander Horck,
     Audio – Excerpts of
                                Mancinas, Kneer,
128B Matthew Vander Horck
                                Villanueva, Jaeger,
     LASD Interview
                                Bercovici, Valdez
                                                                                      Relevant to, among other
                                                      Irrelevant. (FRE 104(b), 401,   things, motivation for                           Excluded.
    Announcement of                                   402.)                           Sheriff’s order to destroy                       Inadmissible under
129 Vander Horck Transfer       Vander Horck                                          evidence and policy of                           FRE 403 (Ruling
    (COLA0035860)                                     More prejudicial than           tolerating improper human                        on Defendants’
                                                      probative. (FRE 403.)           remains photos; not                              MIL #3).
                                                                                      unfairly prejudicial.
                                                                                      Relevant to, among other
    Email dated February 20,
                                                      Irrelevant. (FRE 104(b), 401,   things, motivation for                           Excluded.
    2020 Involving Matthew
                                                      402.)                           Sheriff’s order to destroy                       Inadmissible under
    Vander Horck, titled:
131                          Vander Horck                                             evidence and policy of                           FRE 403 (Ruling
    "Fw: Contact US -                                 More prejudicial than           tolerating improper human                        on Defendants’
    LASD.org 'Kobe'"                                  probative. (FRE 403.)           remains photos; not                              MIL #3).
    (COLA007303-04)
                                                                                      unfairly prejudicial.
    Ruby Cable Memo to
    Matthew Vander Horck
    dated January 30, 2020,     Cable, Mancinas,
132
    titled: "Willow Incident    Bercovici
    Photographs"
    (COLA000721)




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                                                         Plaintiffs’ Exhibits
                                                            #:31326

                                                                                                         Grounds for
Ex.                                                 If Objection, Grounds for                                               Court’s Pretrial
            Description              Witness                                    Response to Objection   Refusing to Stip.
No.                                                         Objection                                                       Ruling (If Any)
                                                                                                        to Authenticity
    Chris Jauregui Memo to
    Vander Horck re Willow Jauregui,
133 Incident Photographs,  Mancinas,
    dated January 31, 2020 Bercovici
    (COLA000720)
                                Jauregui, Mejia,
     Transcript – Excerpts of
                                Versales, Jaeger,
134A Chris Jauregui LASD
                                Scott Johnson,
     Interview
                                Bercovici
                                Jauregui, Mejia,
     Audio – Excerpts of
                                Versales, Jaeger,
134B Chris Jauregui LASD
                                Scott Johnson,
     Interview
                                Bercovici
     Transcript – Excerpts of
     Scott Miller LASD         Miller, Versales,
135A
     Interview No. 1 (Apr. 14, Jaeger, Bercovici
     2020)
     Audio – Excerpts of
     Scott Miller LASD         Miller, Versales,
135B
     Interview No. 1 (Apr. 14, Jaeger, Bercovici
     2020)
     Transcript – Excerpts of
                                Miller, Jaeger,
     Scott Miller LASD
136A                            Scott Johnson,
     Interview No. 2 (May 5,
                                Bercovici
     2020)
     Audio – Excerpts of
                                Miller, Jaeger,
     Scott Miller LASD
136B                            Scott Johnson,
     Interview No. 2 (May 5,
                                Bercovici
     2020)


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                                                          Plaintiffs’ Exhibits
                                                            #:31327

                                                                                                          Grounds for
Ex.                                                  If Objection, Grounds for                                               Court’s Pretrial
             Description              Witness                                    Response to Objection   Refusing to Stip.
No.                                                          Objection                                                       Ruling (If Any)
                                                                                                         to Authenticity
     Transcript – Excerpts of
     Ben Sanchez LASD          Sanchez, Jaeger,
138A
     Interview No. 1 (Mar. 31, Bercovici, Russell
     2020)
     Audio – Excerpts of Ben
                             Sanchez, Jaeger,
138B Sanchez LASD Interview
                             Bercovici, Russell
     No. 1 (Mar. 31, 2020)
    Doug Johnson Memo to
    Matthew Vander Horck
                               Johnson,
    dated January 31, 2020,
139                            Mancinas,
    titled: "Willow Incident -
                               Bercovici
    Helicopter Crash"
    (COLA000711)
                                 Johnson, Jaeger,
     Transcript – Excerpts of    Versales, Vargas,
     Doug Johnson LASD           Bercovici, Cruz,
143A
     Interview No. 1 (Mar. 16,   Mejia, Jauregui,
     2020)                       Miller, Kelly,
                                 Cable, Russell
                               Johnson, Jaeger,
     Audio – Excerpts of       Versales, Vargas,
     Doug Johnson LASD         Bercovici, Cruz,
143B
     Interview No. 1 (Mar. 16, Mejia, Jauregui,
     2020)                     Miller, Kelly,
                               Cable, Russell
                               Kelly, Flores,
     Transcript – Excerpts of
                               Bercovici,
     Travis Kelly LASD
144A                           Versales, Jaeger,
     Interview No. 2 (June 30,
                               Mejia, Jauregui,
     2020)
                               Miller

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                                                             Plaintiffs’ Exhibits
                                                            #:31328

                                                                                                                    Grounds for
Ex.                                                    If Objection, Grounds for                                                       Court’s Pretrial
             Description             Witness                                          Response to Objection        Refusing to Stip.
No.                                                            Objection                                                               Ruling (If Any)
                                                                                                                   to Authenticity
                               Kelly, Flores,
     Audio – Excerpts of
                               Bercovici,
     Travis Kelly LASD
144B                           Versales, Jaeger,
     Interview No. 2 (June 30,
                               Mejia, Jauregui,
     2020)
                               Miller
                                Kelly, Jaeger,
     Trancript – Excerpts of    Scott Johnson,
     Travis Kelly LASD          Bercovici, Flores,
145A
     Interview No. 1 (Apr. 7,   Versales,
     2020)                      Bercovici, Mejia,
                                Jauregui, Miller
                                Kelly, Jaeger,
     Audio – Excerpts of        Scott Johnson,
     Travis Kelly LASD          Bercovici, Flores,
145B
     Interview No. 1 (Apr. 7,   Versales,
     2020)                      Bercovici, Mejia,
                                Jauregui, Miller
    Travis Kelly Memo to
    Matthew Vander Horck
    dated January 30, 2020,
                                Kelly, Mancinas,
146 titled: "WILLOW
                                Bercovici
    INCIDENT
    PHOTOGRAPHS"
    (COLA000722)
                                                                                     Relevant to, among other
    LASD Letter to Travis                            Irrelevant. (FRE 104(b), 401,   things, Versales
    Kelly dated August 8,       Kelly, Jaeger,       402.)                           gratuitously sharing photos
147 2020, titled: "Notification Flores, Kneer,
                                                     More prejudicial than           of the victims’ remains
    Letter" (COLA035225- Reed, Bercovici
                                                     probative. (FRE 403.)           with Kelly; not unfairly
    32)
                                                                                     prejudicial.


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                           Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 38 of 123 Page ID
                                                           Plaintiffs’ Exhibits
                                                            #:31329

                                                                                                           Grounds for
Ex.                                                   If Objection, Grounds for                                               Court’s Pretrial
            Description             Witness                                       Response to Objection   Refusing to Stip.
No.                                                           Objection                                                       Ruling (If Any)
                                                                                                          to Authenticity
     Transcript – Excerpts of
                              Bonelli, Jaeger,
149A Nichohlas Bonelli LASD
                              Bercovici, Mejia
     Interview
     Audio – Excerpts of
                               Bonelli, Jaeger,
149B Nicholas Bonelli LASD
                               Bercovici, Mejia
     Interview
      Google Earth image       Tauscher,
151
      (wide)                   McGuire, Johnson
    Email dated January 29,
    2020 Among Sheriff
    Villanueva, John          Villanueva, Kneer,
154 Burcher, and Others,      Vander Horck,
    titled: "FW: Contact US - Diez, Mancinas
    LASD.org 'Kobe'"
    (COLA007145-46)
                               Villanueva,
    LASD Press Release re
                               Valdez, Satterfield,
155 Crash Scene Photos,
                               Scott Johnson,
    dated February 28, 2020
                               Mancinas
    Letter from Luis Li to
                               Villanueva, Scott
156 Sheriff Villanueva dated
                               Johnson, Jaeger
    March 2, 2020




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                                                           Plaintiffs’ Exhibits
                                                            #:31330

                                                                                                                    Grounds for
Ex.                                                  If Objection, Grounds for                                                         Court’s Pretrial
            Description             Witness                                          Response to Objection         Refusing to Stip.
No.                                                          Objection                                                                 Ruling (If Any)
                                                                                                                   to Authenticity
                                                                                   Relevant to, among other
                                                                                   things, Jordan’s
                                                                                   dissemination of crash
                                                   Irrelevant. (FRE 104(b), 401,   scene photos; not unfairly
    Brian Jordan Cell Phone                        402.)                           prejudicial; the cell records
158 Records (VB00000104-       Jordan, Pikor       More prejudicial than           are circumstantial evidence
    575)                                           probative. (FRE 403.)           of dissemination and
                                                   Speculation.                    suspicious phone call
                                                                                   activity while employees
                                                                                   were under scrutiny, not
                                                                                   speculation.
    Memo from Marrone to
    Jordan re Direct Order
162                            Marrone, Jordan
    dated May 29, 2020
    (COLA035089)
      Chart of Custodian
174                            Price, Freskos
      Information
      Investigative Analysis
175                            Price, Freskos
      Prepared for Parties
      Cellebrite Extraction    Russell, Sanchez,
  *
178   Report (COLA037560-      Pikor, Price,
      920)                     Freskos
      Fire Dispatch Log
180                            Marrone
      (COLA029973-78)
      Verizon Wireless Call
182                            Marrone, Jordan
      Log (COLA030639-41)




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                                                          Plaintiffs’ Exhibits
                                                            #:31331

                                                                                                          Grounds for
Ex.                                                  If Objection, Grounds for                                                Court’s Pretrial
             Description             Witness                                     Response to Objection   Refusing to Stip.
No.                                                          Objection                                                        Ruling (If Any)
                                                                                                         to Authenticity
                                                                                                                             Admissible
                                                                                                                             without a
     Trancript of Excerpts of Villanueva, Flores,
                                                                                                                             sponsoring witness
300A Villanueva Press Briefing Jaeger, Bercovici,
                                                                                                                             (Ruling on
     - COLA001200              Johnson, McCloud
                                                                                                                             Plaintiffs’ MIL
                                                                                                                             #5).
                                                                                                                             Admissible
                                                                                                                             without a
     Video Excerpts of         Villanueva, Flores,
                                                                                                                             sponsoring witness
300B Villanueva Press Briefing Jaeger, Bercovici,
                                                                                                                             (Ruling on
     - COLA001200              Johnson, McCloud
                                                                                                                             Plaintiffs’ MIL
                                                                                                                             #5).
                                                                                                                             Admissible
                                                                                                                             without a
     Transcript of Excerpts of Villanueva, Flores,
                                                                                                                             sponsoring witness
302A Villanueva Fox 11         Jaeger, Bercovici,
                                                                                                                             (Ruling on
     Interview - VB00003622 Johnson, McCloud
                                                                                                                             Plaintiffs’ MIL
                                                                                                                             #5).
                                                                                                                             Admissible
                                                                                                                             without a
     Video Excerpts of      Villanueva, Flores,
                                                                                                                             sponsoring witness
302B Villanueva Fox 11      Jaeger, Bercovici,
                                                                                                                             (Ruling on
     Interview - VB00003622 Johnson, McCloud
                                                                                                                             Plaintiffs’ MIL
                                                                                                                             #5).
                                                                                                                             Admissible
     Transcript of Excerpts of                                                                                               without a
                               Villanueva, Flores,
     Villanueva ABC 7                                                                                                        sponsoring witness
303A                           Jaeger, Bercovici,
     Interivew -                                                                                                             (Ruling on
                               Johnson, McCloud
     COLA001182                                                                                                              Plaintiffs’ MIL
                                                                                                                             #5).


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                                                           Plaintiffs’ Exhibits
                                                            #:31332

                                                                                                           Grounds for
Ex.                                                   If Objection, Grounds for                                                Court’s Pretrial
             Description             Witness                                      Response to Objection   Refusing to Stip.
No.                                                           Objection                                                        Ruling (If Any)
                                                                                                          to Authenticity
                                                                                                                              Admissible
     Video Excerpts of                                                                                                        without a
                                Villanueva, Flores,
     Villanueva ABC 7                                                                                                         sponsoring witness
303B                            Jaeger, Bercovici,
     Interivew -                                                                                                              (Ruling on
                                Johnson, McCloud
     COLA001182                                                                                                               Plaintiffs’ MIL
                                                                                                                              #5).
                                                                                                                              Admissible
     Transcript of Excerpts of                                                                                                without a
                               Villanueva, Flores,
     Villanueva KNX1070                                                                                                       sponsoring witness
304A                           Jaeger, Bercovici,
     Interview -                                                                                                              (Ruling on
                               Johnson, McCloud
     COLA006932                                                                                                               Plaintiffs’ MIL
                                                                                                                              #5).
                                                                                                                              Admissible
     Audio Excerpts of                                                                                                        without a
                                Villanueva, Flores,
     Villanueva KNX1070                                                                                                       sponsoring witness
304B                            Jaeger, Bercovici,
     Interview -                                                                                                              (Ruling on
                                Johnson, McCloud
     COLA006932                                                                                                               Plaintiffs’ MIL
                                                                                                                              #5).
                                                                                                                              Admissible
     Transcript of Excerpts of                                                                                                without a
                               Villanueva, Flores,
     Villanueva NBC                                                                                                           sponsoring witness
305A                           Jaeger, Bercovici,
     Interview -                                                                                                              (Ruling on
                               Johnson, McCloud
     COLA030878                                                                                                               Plaintiffs’ MIL
                                                                                                                              #5).
                                                                                                                              Admissible
     Audio Excerpts of                                                                                                        without a
                                Villanueva, Flores,
     Villanueva NBC                                                                                                           sponsoring witness
305B                            Jaeger, Bercovici,
     Interview -                                                                                                              (Ruling on
                                Johnson, McCloud
     COLA030878                                                                                                               Plaintiffs’ MIL
                                                                                                                              #5).


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                                                           Plaintiffs’ Exhibits
                                                           #:31333

                                                                                                           Grounds for
Ex.                                                   If Objection, Grounds for                                                Court’s Pretrial
            Description              Witness                                      Response to Objection   Refusing to Stip.
No.                                                           Objection                                                        Ruling (If Any)
                                                                                                          to Authenticity
                                                                                                                              Admissible
     Transcript of Excerpt of   Villanueva, Flores,                                                                           without a
     Villanueva & Other         Jaeger, Valdez,                                                                               sponsoring witness
306A
     LASD Statements to LA      Satterfield,                                                                                  (Ruling on
     Times Audio Recording      Bercovici, Mendez                                                                             Plaintiffs’ MIL
                                                                                                                              #5).
                                                                                                                              Admissible
     Audio Excerpt of           Villanueva, Flores,                                                                           without a
     Villanueva & Other         Jaeger, Valdez,                                                                               sponsoring witness
306B
     LASD Statements to LA      Satterfield,                                                                                  (Ruling on
     Times Audio Recording      Bercovici, Mendez                                                                             Plaintiffs’ MIL
                                                                                                                              #5).
    LASD Request for IAB
                                Villanueva, Kneer,
    Investigation, dated
307                             Jaeger, Bercovici,
    February 28, 2020
                                Valdez
    (COLA000906)
    LASD Response to
    Vanessa Bryant Notice of Villanueva, Scott
308
    Claim, dated May 11,     Johnson, Jaeger
    2020 (VB00000001)
    Jack Altura Ltr. to Luis
    Li re "Response to March
                             McCloud,
310 2, 2020 Letter to Chief
                             Marrone, Kim
    Osby," dated March 26,
    2020 (VB00000004)
    Vanessa Bryant Notice of
    Claim on LA County Fire McCloude,
312
    Department, dated July   Marrone, Kim
    20, 2020 (VB00000011)


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                                                          Plaintiffs’ Exhibits
                                                           #:31334

                                                                                                                    Grounds for
Ex.                                                 If Objection, Grounds for                                                          Court’s Pretrial
            Description             Witness                                         Response to Objection          Refusing to Stip.
No.                                                         Objection                                                                  Ruling (If Any)
                                                                                                                   to Authenticity
    Vanessa Bryant Notice of
    Claim on LA County
                             Villanueva, Scott
314 Sheriff's Department,
                             Johnson, Jaeger
    dated May 7, 2020
    (VB00000020)
    Jack Altura Ltr. to Luis
    Li re "Response to March
                              Villanueva, Scott
315 2, 2020 Letter to Sheriff
                              Johnson, Jaeger
    Villanueva," dated March
    26, 2020 (VB00000039)
                                                                                                                                     Admitted with
                                                                                  Not offered for its truth but
                                                                                                                   Defendants do not limiting instruction
                                                                                  rather effect on the listener;
                                                                                                                   stipulate to the  that exhibit is not
                                                                                  relevant to, among other
                                                  Hearsay. (FRE 801, 802.)                                         authenticity of   offered for the
                                                                                  things, Plaintiff’s
                                                  Irrelevant. (FRE 104(b), 401,                                    this exhibit      truth of the matter
    Instagram Message to                                                          emotional distress from
                                                  402.)                                                            because there is  asserted and
    Plaintiff from bhbb7231:                                                      online taunts caused by
317                          Bryant                                                                                no way to         cannot be
    "Ima leak Kobe's body"                        More prejudicial than           County employees’
                                                                                                                   authenticate the  considered by the
    (VB00000048)                                  probative. (FRE 403.)           misconduct; not unfairly
                                                                                                                   source of this    jury in deciding
                                                  Authentication (FRE 901.)       prejudicial; Mrs. Bryant
                                                                                                                   exhibit as        Plaintiff Chester’s
                                                                                  can authenticate the post as
                                                                                                                   required by FRE claims (Ruling on
                                                                                  a taunt she has received
                                                                                                                   901(a).           Defendants’ MIL #
                                                                                  online.
                                                                                                                                     1).




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                                                           Plaintiffs’ Exhibits
                                                          #:31335

                                                                                                                     Grounds for
Ex.                                                  If Objection, Grounds for                                                          Court’s Pretrial
           Description              Witness                                          Response to Objection          Refusing to Stip.
No.                                                          Objection                                                                  Ruling (If Any)
                                                                                                                    to Authenticity
                                                                                   Not offered for its truth but
                                                                                   rather effect on the listener;
                                                                                   relevant to, among other                           Admitted with
                                                                                   things, Plaintiff’s              Defendants do not limiting instruction
                                                                                   emotional distress from          stipulate to the  that exhibit is not
                                                   Hearsay. (FRE 801, 802.)        viewing photos of her            authenticity of   offered for the
                                                   Irrelevant. (FRE 104(b), 401,   husband’s remains online;        this exhibit      truth of the matter
    Annotated Photo Posted
                                                   402.)                           not unfairly prejudicial;        because there is  asserted and
    on Social Media ("Both     Bryant, Tauscher,
318                                                                                Mrs. Bryant can                  no way to         cannot be
    legs with knees in air")   McGuire             More prejudicial than           authenticate the post as an      authenticate the  considered by the
    (VB00000049)                                   probative. (FRE 403.)           image she has seen online,       source of this    jury in deciding
                                                   Authentication (FRE 901.)       and a witness familiar with      exhibit as        Plaintiff Chester’s
                                                                                   layout of crash scene and        required by FRE claims (Ruling on
                                                                                   victims’ remains in relation     901(a).           Defendants’ MIL
                                                                                   to helicopter wreckage can                         #1).
                                                                                   authenticate the post as a
                                                                                   photo of the crash scene.




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                                                        Plaintiffs’ Exhibits
                                                         #:31336

                                                                                                                  Grounds for
Ex.                                               If Objection, Grounds for                                                           Court’s Pretrial
          Description            Witness                                          Response to Objection          Refusing to Stip.
No.                                                       Objection                                                                   Ruling (If Any)
                                                                                                                 to Authenticity
                                                                                Not offered for its truth but
                                                                                rather effect on the listener;
                                                                                relevant to, among other
                                                                                things, Plaintiff’s              Defendants do not
                                                                                                                                     Admitted with
                                                                                emotional distress from          stipulate to the
                                                                                                                                     limiting instruction
                                                Hearsay. (FRE 801, 802.)        viewing photos of her            authenticity of
                                                                                                                                     that exhibit cannot
                                                Irrelevant. (FRE 104(b), 401,   husband’s remains online;        this exhibit
                                                                                                                                     be considered by
    Photo of Wreckage and                       402.)                           not unfairly prejudicial;        because there is
                            Bryant, Tauscher,                                                                                        the jury in
319 Pink Blanket                                                                Mrs. Bryant can                  no way to
                            McGuire             More prejudicial than                                                                deciding Plaintiff
    (VB00000050)                                                                authenticate the post as an      authenticate the
                                                probative. (FRE 403.)                                                                Chester’s claims
                                                                                image she has seen online,       source of this
                                                Authentication (FRE 901.)                                                            (Ruling on
                                                                                and a witness familiar with      exhibit as
                                                                                                                                     Defendants’ MIL
                                                                                layout of crash scene and        required by FRE
                                                                                                                                     #1).
                                                                                victims’ remains in relation     901(a).
                                                                                to helicopter wreckage can
                                                                                authenticate the post as a
                                                                                photo of the crash scene.




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                                                    Plaintiffs’ Exhibits
                                                          #:31337

                                                                                                              Grounds for
Ex.                                           If Objection, Grounds for                                                          Court’s Pretrial
           Description           Witness                                      Response to Objection          Refusing to Stip.
No.                                                   Objection                                                                  Ruling (If Any)
                                                                                                             to Authenticity
                                                                            Not offered for its truth but
                                                                            rather effect on the listener;
                                                                            relevant to, among other
                                                                            things, Plaintiff’s              Defendants do not
                                                                            emotional distress from          stipulate to the
                                            Hearsay. (FRE 801, 802.)        viewing photos of her            authenticity of
                                            Irrelevant. (FRE 104(b), 401,   husband’s remains online;        this exhibit
    Taunting Message to                     402.)                           relevant to, among other         because there is  Excluded (Ruling
320 Mrs. Bryant on Social   Bryant                                          things, Plaintiff’s              no way to         on Defendants’
    Media (VB00000051)                      More prejudicial than           emotional distress from          authenticate the  MIL #1).
                                            probative. (FRE 403.)           online taunts caused by          source of this
                                            Authentication (FRE 901.)       County employees’                exhibit as
                                                                            misconduct; not unfairly         required by FRE
                                                                            prejudicial; Mrs. Bryant         901(a).
                                                                            can authenticate the post as
                                                                            a taunt she has received
                                                                            online.




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                                                         Plaintiffs’ Exhibits
                                                           #:31338

                                                                                                                   Grounds for
Ex.                                                If Objection, Grounds for                                                           Court’s Pretrial
           Description            Witness                                          Response to Objection          Refusing to Stip.
No.                                                        Objection                                                                   Ruling (If Any)
                                                                                                                  to Authenticity
                                                                                 Not offered for its truth but
                                                                                 rather effect on the listener;
                                                                                 relevant to, among other
                                                                                                                                      Admitted with
                                                                                 things, Plaintiff’s              Defendants do not
                                                                                                                                      redactions over
                                                                                 emotional distress from          stipulate to the
                                                                                                                                      text of tweet and
                                                 Hearsay. (FRE 801, 802.)        viewing photos of her            authenticity of
                                                                                                                                      limiting instruction
                                                 Irrelevant. (FRE 104(b), 401,   husband’s remains online;        this exhibit
    Twitter Post with Photos                                                                                                          that exhibits
                                                 402.)                           not unfairly prejudicial;        because there is
    of Accident Scene, dated Bryant, Tauscher,                                                                                        cannot be
321                                                                              Mrs. Bryant can                  no way to
    January 29, 2020         McGuire             More prejudicial than                                                                considered by the
                                                                                 authenticate the post as an      authenticate the
    (VB00000052)                                 probative. (FRE 403.)                                                                jury in deciding
                                                                                 image she has seen online,       source of this
                                                 Authentication (FRE 901.)                                                            Plaintiff Chester’s
                                                                                 and a witness familiar with      exhibit as
                                                                                                                                      claims (Ruling on
                                                                                 layout of crash scene and        required by FRE
                                                                                                                                      Defendants’ MIL
                                                                                 victims’ remains in relation     901(a).
                                                                                                                                      #1).
                                                                                 to helicopter wreckage can
                                                                                 authenticate the post as a
                                                                                 photo of the crash scene.
                                                                                 Admissible to show effect
                                                                                                                  Defendants do not
                                                                                 on listener (Mrs. Bryant)
                                                                                                                  stipulate to the
                                                                                 and residual hearsay
                                                 Hearsay. (FRE 801, 802.)                                         authenticity of
                                                                                 exception based on                                   Excluded.
                                                 Irrelevant. (FRE 104(b), 401,                                    this exhibit
                                                                                 Defendants’ spoliation; not                          Inadmissible
    Instagram Comments                           402.)                                                            because there is
                                                                                 unfairly prejudicial;                                hearsay and FRE
322 Viewed by Plaintiff      Bryant                                                                               no way to
                                                 More prejudicial than           relevant to, among other                             403 (Ruling on
    (VB00000071)                                                                                                  authenticate the
                                                 probative. (FRE 403.)           things, Plaintiff’s                                  Defendants’ MIL
                                                                                                                  source of this
                                                 Authentication (FRE 901.)       emotional distress; Mrs.                             #1).
                                                                                                                  exhibit as
                                                                                 Bryant can authenticate the
                                                                                                                  required by FRE
                                                                                 post as one she has viewed
                                                                                                                  901(a).
                                                                                 online.




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                                                    Plaintiffs’ Exhibits
                                                          #:31339

                                                                                                           Grounds for
Ex.                                           If Objection, Grounds for                                                        Court’s Pretrial
           Description            Witness                                    Response to Objection        Refusing to Stip.
No.                                                   Objection                                                                Ruling (If Any)
                                                                                                          to Authenticity
                                                                            Admissible to show effect
                                                                                                          Defendants do not
                                                                            on listener (Mrs. Bryant)
                                                                                                          stipulate to the
                                                                            and residual hearsay
                                            Hearsay. (FRE 801, 802.)                                      authenticity of
                                                                            exception based on                                Excluded.
                                            Irrelevant. (FRE 104(b), 401,                                 this exhibit
    Twitter Post & Profile of                                               Defendants’ spoliation;                           Inadmissible
                                            402.)                                                         because there is
    "baby boo," dated                                                       relevant to, among other                          hearsay and FRE
323                           Bryant                                                                      no way to
    January 31, 2020                        More prejudicial than           things, Plaintiff’s                               403 (Ruling on
                                                                                                          authenticate the
    (VB00000096-97)                         probative. (FRE 403.)           emotional distress; not                           Defendants’ MIL
                                                                                                          source of this
                                            Authentication (FRE 901.)       unfairly prejudicial; Mrs.                        #1).
                                                                                                          exhibit as
                                                                            Bryant can authenticate the
                                                                                                          required by FRE
                                                                            post as one she has viewed
                                                                                                          901(a).
                                                                            online.
                                                                            Admissible to show effect
                                                                                                          Defendants do not
                                                                            on listener (Mrs. Bryant)
                                                                                                          stipulate to the
                                                                            and residual hearsay
                                            Hearsay. (FRE 801, 802.)                                      authenticity of
                                                                            exception based on                                Excluded.
    Twitter Post & Profile of               Irrelevant. (FRE 104(b), 401,                                 this exhibit
                                                                            Defendants’ spoliation;                           Inadmissible
    "AmericanAnswers.org/F                  402.)                                                         because there is
                                                                            relevant to, among other                          hearsay and FRE
324 acebook," dated February Bryant                                                                       no way to
                                            More prejudicial than           things, Plaintiff’s                               403 (Ruling on
    7, 2020 (VB00000098-                                                                                  authenticate the
                                            probative. (FRE 403.)           emotional distress; not                           Defendants’ MIL
    99)                                                                                                   source of this
                                            Authentication (FRE 901.)       unfairly prejudicial; Mrs.                        #1).
                                                                                                          exhibit as
                                                                            Bryant can authenticate the
                                                                                                          required by FRE
                                                                            post as one she has viewed
                                                                                                          901(a).
                                                                            online.




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                                                    Plaintiffs’ Exhibits
                                                          #:31340

                                                                                                           Grounds for
Ex.                                           If Objection, Grounds for                                                        Court’s Pretrial
           Description            Witness                                    Response to Objection        Refusing to Stip.
No.                                                   Objection                                                                Ruling (If Any)
                                                                                                          to Authenticity
                                                                                                        Defendants do not
                                                                            Admissible to show effect stipulate to the
                                            Hearsay. (FRE 801, 802.)        on listener (Mrs. Bryant)   authenticity of
                                                                                                                              Excluded.
                                            Irrelevant. (FRE 104(b), 401,   and residual hearsay        this exhibit
    Twitter Post & Profile of                                                                                                 Inadmissible
                                            402.)                           exception based on          because there is
    "DRYX," dated March                                                                                                       hearsay and FRE
325                           Bryant                                        Defendants’ spoliation; not no way to
    24, 2020 (VB00000100-                   More prejudicial than                                                             403 (Ruling on
                                                                            unfairly prejudicial; Mrs.  authenticate the
    01)                                     probative. (FRE 403.)                                                             Defendants’ MIL
                                                                            Bryant can authenticate the source of this
                                            Authentication (FRE 901.)                                                         #1).
                                                                            post as one she has viewed exhibit as
                                                                            online.                     required by FRE
                                                                                                        901(a).
                                                                                                          Defendants do not
                                                                            Admissible to show effect     stipulate to the
                                            Hearsay. (FRE 801, 802.)        on listener (Mrs. Bryant)     authenticity of
                                                                                                                              Excluded.
                                            Irrelevant. (FRE 104(b), 401,   and residual hearsay          this exhibit
    Twitter Post & Profile of                                                                                                 Inadmissible
                                            402.)                           exception based on            because there is
    "Princess Young," dated                                                                                                   hearsay and FRE
326                           Bryant                                        Defendants’ spoliation; not   no way to
    May 20, 2020                            More prejudicial than                                                             403 (Ruling on
                                                                            unfairly prejudicial; Mrs.    authenticate the
    (VB00000102-03)                         probative. (FRE 403.)                                                             Defendants’ MIL
                                                                            Bryant can authenticate the   source of this
                                            Authentication (FRE 901.)                                                         #1).
                                                                            post as one she has viewed    exhibit as
                                                                            online                        required by FRE
                                                                                                          901(a).
    LASD Letter to Brian
    Williams & Max
328                          Villanueva
    Huntsman, dated March
    4, 2020 (VB00004190)




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                                                             Plaintiffs’ Exhibits
                                                            #:31341

                                                                                                                    Grounds for
Ex.                                                    If Objection, Grounds for                                                       Court’s Pretrial
            Description              Witness                                           Response to Objection       Refusing to Stip.
No.                                                            Objection                                                               Ruling (If Any)
                                                                                                                   to Authenticity
                                                                                     Not offered for its truth;    Defendants do not
                                                                                     relevant to, among other      stipulate to the
                                                     Hearsay. (FRE 801, 802.)        things, Plaintiff’s           authenticity of
                                                     Irrelevant. (FRE 104(b), 401,   emotional distress in         this exhibit
    Search Auto-Populating                           402.)                           encountering references to    because there is
329 "Kobe Bryant crash     Bryant                                                    Defendants’ improper          no way to
    pictures" (VB00004197)                           More prejudicial than           photos online; not unfairly   authenticate the
                                                     probative. (FRE 403.)           prejudicial; Mrs. Bryant      source of this
                                                     Authentication (FRE 901.)       can authenticate the image    exhibit as
                                                                                     as a screenshot she herself   required by FRE
                                                                                     took.                         901(a).
     Transcript – Excerpts of
                                Cable, Mejia,
332A Ruby Cable LASD
                                Bercovici, Jaeger
     Interview
     Audio – Excerpts of
                                Cable, Mejia,
332B Ruby Cable LASD
                                Bercovici, Jaeger
     Interview
                                Imbrenda,
                                McCloud,
                                Marrone,
     Transcript – Excerpts of   Bercovici, Scott,
336A Tony Imbrenda Fire         Cornell, Weireter,
     Dep’t Interview            Jordan, Breshears,
                                McCloud,
                                Marrone, Kim,
                                Kahan




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                                                          Plaintiffs’ Exhibits
                                                            #:31342

                                                                                                          Grounds for
Ex.                                                  If Objection, Grounds for                                               Court’s Pretrial
            Description              Witness                                     Response to Objection   Refusing to Stip.
No.                                                          Objection                                                       Ruling (If Any)
                                                                                                         to Authenticity
                                Imbrenda,
                                McCloud,
                                Marrone,
     Audio – Excerpts of        Bercovici, Scott,
336B Tony Imbrenda Fire         Cornell, Weireter,
     Dep’t Interview            Jordan, Breshears,
                                McCloud,
                                Marrone, Kim,
                                Kahan
     Transcript – Excerpts of
                                Johnson, Jaeger,
     Doug Johnson LASD
345A                            Scott Johnson,
     Interview No. 2 (May 5,
                                Bercovici, Pikor
     2020)
     Audio – Excerpts of
                                Johnson, Jaeger,
     Doug Johnson LASD
345B                            Scott Johnson,
     Interview No. 2 (May 5,
                                Bercovici, Pikor
     2020)
                               Johnson, Jordan,
                               Marrone,
     Transcript – Excerpts of Bercovici,
     Doug Johnson Fire Dep’t Breshears,
346A
     Interview No. 1 (July 24, McCloud,
     2020)                     Marrone,
                               Imbrenda, Jordan,
                               Kim




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                                                        Plaintiffs’ Exhibits
                                                           #:31343

                                                                                                        Grounds for
Ex.                                                If Objection, Grounds for                                               Court’s Pretrial
            Description             Witness                                    Response to Objection   Refusing to Stip.
No.                                                        Objection                                                       Ruling (If Any)
                                                                                                       to Authenticity
                               Johnson, Jordan,
                               Marrone,
     Audio – Excerpts of       Bercovici,
     Doug Johnson Fire Dep’t Breshears,
346B
     Interview No. 1 (July 24, McCloud,
     2020)                     Marrone,
                               Imbrenda, Jordan,
                               Kim
                                Jordan, Marrone,
     Transcript – Excerpts of
                                McCloud,
     Brian Jordan Fire Dep’t
348A                            Bercovici,
     Interview No. 1 (Apr. 6,
                                Imbrenda, Kahan,
     2020)
                                Kim
                                Jordan, Marrone,
     Audio – Excerpts of
                                McCloud,
     Brian Jordan Fire Dep’t
348B                            Bercovici,
     Interview No. 1 (Apr. 6,
                                Imbrenda, Kahan,
     2020)
                                Kim
                                Kahan, McCloud,
     Transcript – Excerpts of   Marrone,
350A Arlin Kahan Fire Dep’t     Bercovici,
     Interview                  Imbrenda,
                                McCloud
                                Kahan, McCloud,
     Audio – Excerpts of        Marrone,
350B Arlin Kahan Fire Dep’t     Bercovici,
     Interview                  Imbrenda,
                                McCloud




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                                                           Plaintiffs’ Exhibits
                                                            #:31344

                                                                                                           Grounds for
Ex.                                                   If Objection, Grounds for                                               Court’s Pretrial
            Description              Witness                                      Response to Objection   Refusing to Stip.
No.                                                           Objection                                                       Ruling (If Any)
                                                                                                          to Authenticity
                                Marrone,
     Transcript – Excerpts of
                                McCloud, Jordan,
357A Anthony Marrone Fire
                                Kahan, Bercovici,
     Dep’t Interview
                                Imbrenda
                                Marrone,
     Audio – Excerpts of
                                McCloud, Jordan,
357B Anthony Marrone Fire
                                Kahan, Bercovici,
     Dep’t Interview
                                Imbrenda
     Transcript – Excerpts of   Mejia, Cable,
361A Rafael Mejia LASD          Cruz, Jaeger, Scott
     Interview                  Johnson, Bercovici
     Audio – Excerpts of        Mejia, Cable,
361B Rafael Mejia LASD          Cruz, Jaeger, Scott
     Interview                  Johnson, Bercovici
     Transcript – Excerpts of   Sanchez,
     Ben Sanchez LASD           Bercovici, Pikor,
376A
     Interview No. 2 (May 5,    Jaeger, Scott
     2020)                      Johnson
                             Sanchez,
     Audio – Excerpts of Ben
                             Bercovici, Pikor,
376B Sanchez LASD Interview
                             Jaeger, Scott
     No. 2 (May 5, 2020)
                             Johnson
     Transcript – Excerpts of   Scott, Imbrenda,
377A Erik Scott Fire Dep’t      Cornell, Weireter,
     Interview                  McCloud, Marrone
     Audio – Excerpts of Erik Scott, Imbrenda,
377B Scott Fire Dep’t         Cornell, Weireter,
     Interview                McCloud, Marrone



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                                                       Plaintiffs’ Exhibits
                                                            #:31345

                                                                                                       Grounds for
Ex.                                               If Objection, Grounds for                                               Court’s Pretrial
           Description             Witness                                    Response to Objection   Refusing to Stip.
No.                                                       Objection                                                       Ruling (If Any)
                                                                                                      to Authenticity
    Summons in a Civil
                              Versales, Scott
388 Action to Raul Versales
                              Johnson, Jaeger
    dated March 22, 2021
    Summons in a Civil
                              Cruz, Scott
389 Action to Joey Cruz
                              Johnson, Jaeger
    dated March 22, 2021
    COLA001422 –
    California Baja Bar &
                              Mendez, Cruz,
390 Grill Surveillance
                              Gutierrez, Valdez
    Footage – 1/28/2020,
    20:00-20:10
    COLA001423 –
    California Baja Bar &
                              Mendez, Cruz,
391 Grill Surveillance
                              Gutierrez, Valdez
    Footage – 1/28/2020,
    20:10-20:20
    COLA001425 –
    California Baja Bar &
                              Mendez, Cruz,
392 Grill Surveillance
                              Gutierrez, Valdez
    Footage – 1/28/2020,
    20:31-20:40
    COLA001426 –
    California Baja Bar &
                              Mendez, Cruz,
393 Grill Surveillance
                              Gutierrez, Valdez
    Footage – 1/28/2020,
    20:40-20:51




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                                                     Plaintiffs’ Exhibits
                                                          #:31346

                                                                                                     Grounds for
Ex.                                             If Objection, Grounds for                                               Court’s Pretrial
           Description           Witness                                    Response to Objection   Refusing to Stip.
No.                                                     Objection                                                       Ruling (If Any)
                                                                                                    to Authenticity
    COLA001427 –
    California Baja Bar &
                            Mendez, Cruz,
394 Grill Surveillance
                            Gutierrez, Valdez
    Footage – 1/28/2020,
    20:51-21:01
    COLA001428 –
    California Baja Bar &
                            Mendez, Cruz,
395 Grill Surveillance
                            Gutierrez, Valdez
    Footage – 1/28/2020,
    21:01-21:11
    COLA001429 –
    California Baja Bar &
                            Mendez, Cruz,
396 Grill Surveillance
                            Gutierrez, Valdez
    Footage – 1/28/2020,
    21:11-21:21
    COLA001433 –
    California Baja Bar &
                            Mendez, Cruz,
397 Grill Surveillance
                            Gutierrez, Valdez
    Footage – 1/28/2020,
    21:52-22:03
    COLA001436 –
    California Baja Bar &
                            Mendez, Cruz,
398 Grill Surveillance
                            Gutierrez, Valdez
    Footage – 1/28/2020,
    22:23-22:33
    COLA001438 –
    California Baja Bar &
                            Mendez, Cruz,
399 Grill Surveillance
                            Gutierrez, Valdez
    Footage – 1/28/2020,
    22:44-22:46

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                                                          Plaintiffs’ Exhibits
                                                          #:31347

                                                                                                                    Grounds for
Ex.                                                 If Objection, Grounds for                                                          Court’s Pretrial
           Description             Witness                                          Response to Objection          Refusing to Stip.
No.                                                         Objection                                                                  Ruling (If Any)
                                                                                                                   to Authenticity
    COLA001439 –
    California Baja Bar &
                              Mendez, Cruz,
400 Grill Surveillance
                              Gutierrez, Valdez
    Footage – 1/28/2020,
    22:46-22:57
                                                                                  Relevant to, among other
                                                                                  things, trail of electronic
                                                                                  transmission of photos of
                                                                                  the crash victims’ remains
                                                  Irrelevant. (FRE 104(b), 401,   among Sheriff’s
    Joey Cruz Cell Records,
                                                  402.)                           Department and Fire
    January 1 - March 6,
                                                                                  Department personnel; not
401 2020 (Bates               Pikor, Cruz         More prejudicial than
                                                                                  unfairly prejudicial; the cell
    COLA035763-                                   probative. (FRE 403.)
                                                                                  records are circumstantial
    COLA035822)                                   Speculation.                    evidence of dissemination
                                                                                  and suspicious phone call
                                                                                  activity while employees
                                                                                  were under scrutiny, not
                                                                                  speculation.




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                                                          Plaintiffs’ Exhibits
                                                             #:31348

                                                                                                                    Grounds for
Ex.                                                 If Objection, Grounds for                                                          Court’s Pretrial
           Description              Witness                                         Response to Objection          Refusing to Stip.
No.                                                         Objection                                                                  Ruling (If Any)
                                                                                                                   to Authenticity
                                                                                  Relevant to, among other
                                                                                  things, trail of electronic
                                                                                  transmission of photos of
                                                                                  the crash victims’ remains
                                                  Irrelevant. (FRE 104(b), 401,   among Sheriff’s
    Rafael Mejia Cell
                                                  402.)                           Department and Fire
    Records, January 26 -
                                                                                  Department personnel; not
402 March 4, 2020 (Bates       Pikor, Mejia       More prejudicial than
                                                                                  unfairly prejudicial; the cell
    COLA036079-                                   probative. (FRE 403.)
                                                                                  records are circumstantial
    COLA036662)                                   Speculation.                    evidence of dissemination
                                                                                  and suspicious phone call
                                                                                  activity while employees
                                                                                  were under scrutiny, not
                                                                                  speculation.
    Certificate of
    Authenticity for Mejia     Mejia, Versales,
403 and Versales Cell          Pikor, Records
    Records (VB00004136-       Custodian
    VB00004150)




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                                                         Plaintiffs’ Exhibits
                                                             #:31349

                                                                                                                   Grounds for
Ex.                                                If Objection, Grounds for                                                          Court’s Pretrial
           Description              Witness                                        Response to Objection          Refusing to Stip.
No.                                                        Objection                                                                  Ruling (If Any)
                                                                                                                  to Authenticity
                                                                                 Relevant to, among other
                                                                                 things, trail of electronic
                                                                                 transmission of photos of
                                                                                 the crash victims’ remains
                                                 Irrelevant. (FRE 104(b), 401,   among Sheriff’s
    Michael Russell Cell
                                                 402.)                           Department and Fire
    Records, January 2 -
                                                                                 Department personnel; not
405 March 31, 2020 (Bates      Pikor, Russell    More prejudicial than
                                                                                 unfairly prejudicial; the cell
    COLA035626-                                  probative. (FRE 403.)
                                                                                 records are circumstantial
    COLA035746)                                  Speculation.                    evidence of dissemination
                                                                                 and suspicious phone call
                                                                                 activity while employees
                                                                                 were under scrutiny, not
                                                                                 speculation.
                                                                                 Relevant to, among other
                                                                                 things, trail of electronic
                                                                                 transmission of photos of
                                                                                 the crash victims’ remains
    Raul Versales Cell
                                                 Irrelevant. (FRE 104(b), 401,   among Sheriff’s
    Records, January 26 -
                                                 402.)                           Department and Fire
    March 4, 2020 (Bates
                                                                                 Department personnel; not
406 COLA036079-                Pikor, Versales   More prejudicial than
                                                                                 unfairly prejudicial; the cell
    COLA036094,                                  probative. (FRE 403.)
                                                                                 records are circumstantial
    COLA036663-                                  Speculation.                    evidence of dissemination
    COLA037559)
                                                                                 and suspicious phone call
                                                                                 activity while employees
                                                                                 were under scrutiny, not
                                                                                 speculation.




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                                                         Plaintiffs’ Exhibits
                                                             #:31350

                                                                                                                   Grounds for
Ex.                                                If Objection, Grounds for                                                          Court’s Pretrial
           Description              Witness                                        Response to Objection          Refusing to Stip.
No.                                                        Objection                                                                  Ruling (If Any)
                                                                                                                  to Authenticity
                                                                                 Relevant to, among other
                                                                                 things, trail of electronic
                                                                                 transmission of photos of
                                                                                 the crash victims’ remains
                                                 Irrelevant. (FRE 104(b), 401,   among Sheriff’s
    Douglas Johnson Cell
                                                 402.)                           Department and Fire
    Records, January 26 -
                                                                                 Department personnel; not
408 March 4, 2020 (Bates       Pikor, Johnson    More prejudicial than
                                                                                 unfairly prejudicial; the cell
    COLA038063-                                  probative. (FRE 403.)
                                                                                 records are circumstantial
    COLA038538)                                  Speculation.                    evidence of dissemination
                                                                                 and suspicious phone call
                                                                                 activity while employees
                                                                                 were under scrutiny, not
                                                                                 speculation.
    AT&T Custodian of
    Records Certification and
    Accompanying Materials
    for Douglas Johnson Cell Johnson, Records
409
    Records, signed           Custodian, Pikor
    November 24, 2021
    (Bates COLA038539-
    COLA038552)




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                                                            Plaintiffs’ Exhibits
                                                          #:31351

                                                                                                                      Grounds for
Ex.                                                   If Objection, Grounds for                                                          Court’s Pretrial
           Description               Witness                                          Response to Objection          Refusing to Stip.
No.                                                           Objection                                                                  Ruling (If Any)
                                                                                                                     to Authenticity
                                                                                    Relevant to, among other
                                                                                    things, trail of electronic
                                                                                    transmission of photos of
                                                                                    the crash victims’ remains
    Tony Imbrenda, Brian
                                                    Irrelevant. (FRE 104(b), 401,   among Sheriff’s
    Jordan, & Arlin Kahan
                                                    402.)                           Department and Fire
    LAFD Cell Records,
                                Imbrenda, Jordan,                                   Department personnel; not
411 January 26 - March 3,                           More prejudicial than
                                Kahan, Pikor                                        unfairly prejudicial; the cell
    2020 (Bates                                     probative. (FRE 403.)
                                                                                    records are circumstantial
    COLA037937-                                     Speculation.                    evidence of dissemination
    COLA037969)
                                                                                    and suspicious phone call
                                                                                    activity while employees
                                                                                    were under scrutiny, not
                                                                                    speculation.
    Verizon Custodian of
    Records Certification and
    Accompanying Materials
    for Shrout LASD, Miller
                                Miller, Kelly,
    LASD, Kelly Personal,
                                Imbrenda, Jordan,
412 Imbrenda LAFD, Jordan
                                Kahan, Records
    LAFD, & Kahan LAFD
                                Custodian, Pikor
    Cell Records, signed
    November 8, 2021 (Bates
    VB00004201-
    VB00004206)




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                                                        Plaintiffs’ Exhibits
                                                          #:31352

                                                                                                                  Grounds for
Ex.                                               If Objection, Grounds for                                                          Court’s Pretrial
           Description             Witness                                        Response to Objection          Refusing to Stip.
No.                                                       Objection                                                                  Ruling (If Any)
                                                                                                                 to Authenticity
                                                                                Relevant to, among other
                                                                                things, trail of electronic
                                                                                transmission of photos of
                                                                                the crash victims’ remains
                                                Irrelevant. (FRE 104(b), 401,   among Sheriff’s
    Tony Imbrenda Personal
                                                402.)                           Department and Fire
    Cell Records, January 25
                             Pikor, Imbrenda,                                   Department personnel; not
415 - March 3, 2020 (Bates                      More prejudicial than
                             Jordan, Kahan                                      unfairly prejudicial; the cell
    C0LA035893-                                 probative. (FRE 403.)
                                                                                records are circumstantial
    C0LA035906)                                 Speculation.                    evidence of dissemination
                                                                                and suspicious phone call
                                                                                activity while employees
                                                                                were under scrutiny, not
                                                                                speculation.
    Charter Custodian of
    Records Certification and
    Accompanying Materials
                              Pikor, Records
    for Tony Imbrenda
416                           Custodian,
    Personal Cell Records,
                              Imbrenda
    signed October 12, 2021
    (Bates COLA035907-
    COLA035909)




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                                                          Plaintiffs’ Exhibits
                                                          #:31353

                                                                                                                    Grounds for
Ex.                                                 If Objection, Grounds for                                                          Court’s Pretrial
           Description             Witness                                          Response to Objection          Refusing to Stip.
No.                                                         Objection                                                                  Ruling (If Any)
                                                                                                                   to Authenticity
                                                                                  Relevant to, among other
                                                                                  things, trail of electronic
                                                                                  transmission of photos of
                                                                                  the crash victims’ remains
                                                  Irrelevant. (FRE 104(b), 401,   among Sheriff’s
    Brian Jordan Personal
                                                  402.)                           Department and Fire
    Cell Records, January 26
                                                                                  Department personnel; not
417 - March 4, 2020 (Bates   Pikor, Jordan        More prejudicial than
                                                                                  unfairly prejudicial; the cell
    VB00003632-                                   probative. (FRE 403.)
                                                                                  records are circumstantial
    VB00004129)                                   Speculation.                    evidence of dissemination
                                                                                  and suspicious phone call
                                                                                  activity while employees
                                                                                  were under scrutiny, not
                                                                                  speculation.
    AT&T Custodian of
    Records Certification and
    Accompanying Materials
    for Brian Jordan Personal Pikor, Records
418
    Cell Records, signed      Custodian, Jordan
    November 19, 2021
    (Bates VB00004130-
    VB00004135)




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                                                       Plaintiffs’ Exhibits
                                                          #:31354

                                                                                                              Grounds for
Ex.                                              If Objection, Grounds for                                                       Court’s Pretrial
           Description            Witness                                        Response to Objection       Refusing to Stip.
No.                                                      Objection                                                               Ruling (If Any)
                                                                                                             to Authenticity
                                                                               Relevant to, among other
                                                                               things, trail of electronic
                                                                               transmission of photos of
                                                                               the crash victims’ remains
                                               Irrelevant. (FRE 104(b), 401,   among Sheriff’s
    Arlin Kahan Personal
                                               402.)                           Department and Fire
    Cell Records, December
                             Pikor, Kahan,                                     Department personnel; the
420 27 - March 26, 2020                        More prejudicial than
                             Imbrenda                                          cell records are
    (Bates COLA035861-                         probative. (FRE 403.)
                                                                               circumstantial evidence of
    COLA035880)                                Speculation.                    dissemination and
                                                                               suspicious phone call
                                                                               activity while employees
                                                                               were under scrutiny, not
                                                                               speculation.
                                                                               Relevant to, among other
                                                                               things, trail of electronic
                                                                               transmission of photos of
                                                                               the crash victims’ remains
                                               Irrelevant. (FRE 104(b), 401,   among Sheriff’s
    Benjamin Sanchez Cell
                                               402.)                           Department and Fire
    Records, January 26 -
                             Pikor, Russell,                                   Department personnel; the
421 March 3, 2020 (Bates                       More prejudicial than
                             Sanchez                                           cell records are
    COLA035910-                                probative. (FRE 403.)
                                                                               circumstantial evidence of
    COLA035933)                                Speculation.                    dissemination and
                                                                               suspicious phone call
                                                                               activity while employees
                                                                               were under scrutiny, not
                                                                               speculation.




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                            Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 64 of 123 Page ID
                                                          Plaintiffs’ Exhibits
                                                             #:31355

                                                                                                                    Grounds for
Ex.                                                 If Objection, Grounds for                                                          Court’s Pretrial
           Description              Witness                                         Response to Objection          Refusing to Stip.
No.                                                         Objection                                                                  Ruling (If Any)
                                                                                                                   to Authenticity
    Verizon Custodian of
    Records Certification and
    Accompanying Materials
                              Pikor, Jauregui,
    for Jauregui & Sanchez
422                           Sanchez, Records
    Cell Records, signed
                              Custodian
    October 25, 2021 (Bates
    VB00004198-
    VB00004200)
                                                                                  Relevant to, among other
                                                                                  things, trail of electronic
                                                                                  transmission of photos of
                                                                                  the crash victims’ remains
                                                  Irrelevant. (FRE 104(b), 401,   among Sheriff’s
    Ruby Cable Cell                               402.)                           Department and Fire
    Records, January 26 -                                                         Department personnel; not
424                            Pikor, Cable       More prejudicial than
    March 3, 2020 (Beg                                                            unfairly prejudicial; the cell
                                                  probative. (FRE 403.)
    Bates COLA037970)                                                             records are circumstantial
                                                  Speculation.                    evidence of dissemination
                                                                                  and suspicious phone call
                                                                                  activity while employees
                                                                                  were under scrutiny, not
                                                                                  speculation.
    T-Mobile Custodian of
    Records Certification and
    Accompanying Materials
    for Ruby Cable Cell       Pikor, Cable,
425
    Records, signed           Records Custodian
    November 17, 2021
    (Bates COLA037971-
    COLA038003)



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                            Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 65 of 123 Page ID
                                                        Plaintiffs’ Exhibits
                                                             #:31356

                                                                                                                  Grounds for
Ex.                                               If Objection, Grounds for                                                          Court’s Pretrial
           Description              Witness                                       Response to Objection          Refusing to Stip.
No.                                                       Objection                                                                  Ruling (If Any)
                                                                                                                 to Authenticity
                                                                                Relevant to, among other
                                                                                things, trail of electronic
                                                                                transmission of photos of
                                                                                the crash victims’ remains
    Stephanie Shrout & Scott                    Irrelevant. (FRE 104(b), 401,   among Sheriff’s
    Miller LASD Cell                            402.)                           Department and Fire
    Records, January 26 -    Pikor, Miller,                                     Department personnel; not
428                                             More prejudicial than
    March 3, 2020 (Bates     Versales                                           unfairly prejudicial; the cell
                                                probative. (FRE 403.)
    COLA037921-                                                                 records are circumstantial
    C0LA037936)                                 Speculation.                    evidence of dissemination
                                                                                and suspicious phone call
                                                                                activity while employees
                                                                                were under scrutiny, not
                                                                                speculation.
                                                                                Relevant to, among other
                                                                                things, trail of electronic
                                                                                transmission of photos of
                                                                                the crash victims’ remains
                                                Irrelevant. (FRE 104(b), 401,   among Sheriff’s
    Travis Kelly Cell
                                                402.)                           Department and Fire
    Records, January 26 -
                               Pikor, Miller,                                   Department personnel; not
430 March 3, 2020 (Bates                        More prejudicial than
                               Versales                                         unfairly prejudicial; the cell
    COLA038004-                                 probative. (FRE 403.)
                                                                                records are circumstantial
    COLA038030)                                 Speculation.                    evidence of dissemination
                                                                                and suspicious phone call
                                                                                activity while employees
                                                                                were under scrutiny, not
                                                                                speculation.




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                          Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 66 of 123 Page ID
                                                         Plaintiffs’ Exhibits
                                                           #:31357

                                                                                                                Grounds for
Ex.                                                If Objection, Grounds for                                                       Court’s Pretrial
            Description             Witness                                       Response to Objection        Refusing to Stip.
No.                                                        Objection                                                               Ruling (If Any)
                                                                                                               to Authenticity
                                                                                 Relevant to, among other
                                                                                 things, trail of electronic
                                                                                 transmission of photos of
                                                                                 the crash victims’ remains
                                                                                 among Sheriff’s
    Christopher Jauregui Cell                    Irrelevant. (FRE 104(b), 401,   Department and Fire
    Records, January 26 -                        402.)                           Department personnel; not
                              Pikor, Jauregui,
432 March 3, 2020 (Bates                         More prejudicial than           unfairly prejudicial; ; the
                              Versales
    COLA038031-                                  probative. (FRE 403.)           cell records are
    COLA038058)                                  Speculation.                    circumstantial evidence of
                                                                                 dissemination and
                                                                                 suspicious phone call
                                                                                 activity while employees
                                                                                 were under scrutiny, not
                                                                                 speculation.




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                         Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 67 of 123 Page ID
                                                    Plaintiffs’ Exhibits
                                                          #:31358

                                                                                                            Grounds for
Ex.                                           If Objection, Grounds for                                                        Court’s Pretrial
           Description           Witness                                      Response to Objection        Refusing to Stip.
No.                                                   Objection                                                                Ruling (If Any)
                                                                                                           to Authenticity
                                                                          Relevant to, among other
                                                                          things, Fire Department’s
                                                                          actual or constructive
                                                                          notice that failure to train
                                                                          and failure to have a policy
                                                                          would result in improper
                                                                          death photos; not a
                                                                          subsequent remedial
                                            Irrelevant. (FRE 104(b), 401, measure per definition in
                                            402.)                         FRE 407 (the letter is from
    LAFD Letter dated June
                             Marrone,                                     2015, which predates the
    22, 2015, titled:                       More prejudicial than
434                          McCloud,                                     helicopter crash by 5
    "Intention to Suspend"                  probative. (FRE 403.)
                             Bercovici                                    years), not offered for the
    (COLA035403-08)                         Subsequent remedial measures prohibited purposes in FRE
                                            (FRE 407.)                    407, and qualifies for the
                                                                          exception in FRE 407;
                                                                          retrospective investigations
                                                                          are not subsequent
                                                                          remedial measures (see In
                                                                          re Aircrash in Bali,
                                                                          Indonesia, 871 F.2d 812,
                                                                          816 (9th Cir. 1989)); not
                                                                          unfairly prejudicial.
                                                                            Relevant to, among other
                                                                            things, Fire Department’s
    LAFD Letter dated                       Irrelevant. (FRE 104(b), 401,   actual or constructive
                             Marrone,       402.)
    March 1, 2018 re                                                        notice that failure to train
435                          McCloud,
    Suspension                              More prejudicial than           and failure to have a policy
                             Bercovici
    (COLA035409-16)                         probative. (FRE 403.)           would result in improper
                                                                            death photos; not unfairly
                                                                            prejudicial.


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                         Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 68 of 123 Page ID
                                                            Plaintiffs’ Exhibits
                                                          #:31359

                                                                                                                    Grounds for
Ex.                                                   If Objection, Grounds for                                                        Court’s Pretrial
           Description             Witness                                            Response to Objection        Refusing to Stip.
No.                                                           Objection                                                                Ruling (If Any)
                                                                                                                   to Authenticity
                                                                                    Relevant to, among other
                                                                                    things, Fire Department’s
                                                    Irrelevant. (FRE 104(b), 401,   actual or constructive
    LAFD Investigation   Marrone,                   402.)                           notice that failure to train
436 Report dated May 29, McCloud,
                                                    More prejudicial than           and failure to have a policy
    2015 (COLA035417-28) Bercovici
                                                    probative. (FRE 403.)           would result in improper
                                                                                    death photos; not unfairly
                                                                                    prejudicial.
                                                                                    Relevant to, among other
                                                                                    things, Fire Department’s
    LAFD Supplemental                               Irrelevant. (FRE 104(b), 401,   actual or constructive
                           Marrone,                 402.)
    Investigation Report                                                            notice that failure to train
437                        McCloud,
    dated November 1, 2017                          More prejudicial than           and failure to have a policy
                           Bercovici
    (COLA035429-37)                                 probative. (FRE 403.)           would result in improper
                                                                                    death photos; not unfairly
                                                                                    prejudicial.
                                                                                    Relevant to, among other
                                                                                    things, Fire Department’s
    LAFD Letter of                                  Irrelevant. (FRE 104(b), 401,   actual or constructive
                          Marrone,                  402.)
    Reprimand dated March                                                           notice that failure to train
438                       McCloud,
    27, 2019 (COLA035438-                           More prejudicial than           and failure to have a policy
                          Bercovici
    41)                                             probative. (FRE 403.)           would result in improper
                                                                                    death photos; not unfairly
                                                                                    prejudicial.
    LASD Letter to Doug                                                             Relevant to, among other
    Johnson dated August 8,   Johnson,              Irrelevant. (FRE 104(b), 401,   things, Johnson receiving
    2020, titled:             Villanueva, Jaeger,   402.)                           no discipline for taking
439
    "NOTIFICATION             Reed, Kneer,          More prejudicial than           close-up photos of crash
    LETTER"                   Bercovici             probative. (FRE 403.)           victims’ remains; not
    (COLA035220-24)                                                                 unfairly prejudicial.


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                          Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 69 of 123 Page ID
                                                            Plaintiffs’ Exhibits
                                                           #:31360

                                                                                                            Grounds for
Ex.                                                    If Objection, Grounds for                                               Court’s Pretrial
            Description              Witness                                       Response to Objection   Refusing to Stip.
No.                                                            Objection                                                       Ruling (If Any)
                                                                                                           to Authenticity
    Cellbrite Extraction
    Report and Facebook
440 Messenger Messages     Mejia, Pikor
    between Henry Shue and
    Ralph Grande
     Transcript – Excerpts of
465A Dennis Breshears Fire      Breshears,
     Dep’t Interview            McCloud, Marrone

     Audio – Excerpts of
465B Dennis Breshears Fire      Breshears,
     Dep’t Interview            McCloud, Marrone

    LA Times recording of
    Villanueva and Valdez       Villanueva,
470                             Valdez, Satterfield,
    (audio only)
    (VB00004208)                Bercovici

    LA Times recording of
    Villanueva and Valdez       Villanueva,
471                             Valdez, Satterfield,
    (with subtitles)
    (VB00004209)                Bercovici

    Defendant COLA’s            Jaeger, Scott
    Responses to Plaintiff’s    Johnson, Kim,
478 First Set of Requests for   Marrone,
    Admission, dated            McCloud,
    November 24, 2021           Bercovici, Pikor
    Defendant LACFD’s
    Responses to Plaintiff’s    Kim, McCloud,
479 First Set of Requests for   Marrone, Pikor,
    Admission, dated            Bercovici
    November 29, 2021


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                          Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 Page 70 of 123 Page ID
                                                         Plaintiffs’ Exhibits
                                                           #:31361

                                                                                                         Grounds for
Ex.                                                 If Objection, Grounds for                                               Court’s Pretrial
            Description              Witness                                    Response to Objection   Refusing to Stip.
No.                                                         Objection                                                       Ruling (If Any)
                                                                                                        to Authenticity
    Defendant LASD’s
    Responses to Plaintiff’s
480 First Set of Requests for   Jaeger, Pikor,
    Admission, dated            Bercovici
    November 29, 2021
    Defendant COLA’s Third
    Supplemental Responses
501 to First Set of        Jaeger, Pikor,
    Interrogatories, dated Bercovici, Kim
    March 31, 2021
    Defendant COLA’s
    Responses to Second Set Jaeger, Pikor,
502
    of Interrogatories, dated Bercovici, Kim
    April 19, 2021
    Defendant COLA’s
    Responses to Third Set of Flores, Jaeger,
503                           Freskos, Bercovici,
    Interrogatories, dated
    October 1, 2021           Pikor, Bercovici

    Defendant Michael
    Russell’s Responses to
504 First Set of                Russell, Pikor,
    Interrogatories, dated      Bercovici
    October 25, 2021
    Recorded Call Between
    Deputies Nicolas Bonelli
510 and Rafael Mejia –       Bonelli, Mejia
    January 26, 2020
    (COLA006524)




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                                                            Defendants’ Exhibits
                                                               #:31362


                                                               If Objection,                                              Grounds for
Ex.
               Description                  Witness            Grounds for              Response to Objection            Refusing to Stip.   Court’s Ruling
No.
                                                                 Objection                                               to Authenticity
                                      Commander Jorge
                                      Valdez, Sergeant
       Photo - LASD Lost Hills
20                                    Travus Kelly,
       Station Facebook Photo
                                      Sergeant Robert
                                      Boese
                                      Interim Fire Chief
                                      Anthony Marrone,
                                      Chief William
       LACFD Standards of
                                      McCloud, Captain
24     Behavior (COLA030147-
                                      Arlin Kahan, Brian
       50)
                                      Jordan, Firefighter
                                      Specialist Tony
                                      Imbrenda




      ________________________________
      * Defendants reserve the right to use exhibits at trial that Plaintiffs introduce with a witness and is admitted into evidence.

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                           Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 *Page 72 of 123 Page ID
                                                        Defendants’ Exhibits
                                                            #:31363

                                                          If Objection,                                     Grounds for
Ex.
             Description                 Witness          Grounds for              Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                            Objection                                      to Authenticity




                                   Plaintiff, Sheriff
                                   Alex Villanueva,
                                   Sergeant Robert
                                   Boese,
    LA Times Article of
                                   Commander Jorge
    February 28, 2020, titled:
                                   Valdez, Captain
    "Deputies were ordered to
73*                                John Satterfield,
    delete Kobe Bryant crash
                                   Deputy Rafael
    photos to avoid discipline,
                                   Mejia, Deputy
    sources say."
                                   Raul Versales,
                                   Deputy Joey Cruz,
                                   Deputy Michael
                                   Russell




      Plaintiff Vanessa Bryant’s
      Responses & Objections to
89    Defendant County of Los      Plaintiff
      Angeles’s Second Set of
      Interrogatories
      Plaintiff Vanessa Bryant’s
      First Amended Responses &
      Objections to Defendant
90                               Plaintiff
      County of Los Angeles’s
      First Set of Requests for
      Admission, Nos. 2-6


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                            Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 *Page 73 of 123 Page ID
                                                 Defendants’ Exhibits
                                                             #:31364

                                                     If Objection,                                                 Grounds for
Ex.
              Description              Witness       Grounds for              Response to Objection               Refusing to Stip.    Court’s Ruling
No.
                                                       Objection                                                  to Authenticity
                                                                        As more fully briefed in Defendants’
                                                                        Opposition to Plaintiff’s MIL No. 3,
                                                                        this document is relevant and
                                                                        admissible. Plaintiff intends to
                                                  Relevance (FRE        introduce evidence about the crash
                                                  402); unfair          that killed her husband and daughter.
                                                  prejudice,            Defendants are entitled to tell the
                                                  confusion, and/or jury that any emotional distress
                                                  waste of time         Plaintiff suffered as a result of the
                                                  (FRE 403);            crash is not Defendants’ fault.
                                                  inadmissible          Defendants are also entitled to tell
                                                                        the jury that Plaintiff sued the                              Excluded.
      Consolidated Complaint for                  hearsay (FRE
                                                                        helicopter operators and settled her                          Inadmissible
      Damages (Wrongful                           802); subject to
91                               Plaintiff                                                                                            (Ruling on
      Death/Survival/ Negligence                  Plaintiff's MIL #3 claims. It would be prejudicial to
                                                                        Defendants and confusing for jurors                           Plaintiffs’ MIL
      / Helicopter Crash)                         to exclude
                                                                        if Defendants were precluded from                             #3).
                                                  evidence of
                                                  Plaintiff's financial telling the jury this. Plaintiff cannot
                                                  condition,            recover for emotional distress caused
                                                  including             by the loss of her husband and
                                                  references to         daughter.
                                                  settlement of prior Exhibit 91 is not hearsay because it
                                                  lawsuit               is not being offered for the truth of
                                                                        the statements contained therein, but
                                                                        to show that Plaintiff sued the
                                                                        helicopter operators and settled her
                                                                        claims for the helicopter crash itself.
    Stipulation Regarding
172 Protocol for Forensic         Justin Price
    Examination
      Acknowledgement of
173                               Justin Price
      Protocol and Directives

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                                                         Defendants’ Exhibits
                                                              #:31365

                                                           If Objection,                                     Grounds for
Ex.
               Description               Witness           Grounds for              Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                             Objection                                      to Authenticity
       Cellebrite Extraction Report
178*                                Justin Price
       (COLA037560-920)
    Text Messages between
    Monica Arnold and Vanessa
185 Bryant (ARNOLD000001) Plaintiff
    (Monica Arnold Deposition
    Exhibit 2)
    Text Messages between
    Catherine Gasol and
188 Vanessa Bryant              Plaintiff
    (GASOL000001) (Catherine
    Gasol Deposition Exhibit 1)
                                    Interim Fire Chief
                                    Anthony Marrone,
    LAFD Direct Order from          LACFD Risk
192 Marrone to Kahan                Management Chief
    (COLA035088)                    Julia Kim, Fire
                                    Captain Arlin
                                    Kahan
                                    Deputy Rafael
    Photo of Detached
                                    Mejia, Deputy
441 Helicopter Tail
                                    Henry Shue, Justin
    (COLA036077)
                                    Price
                                Deputy Rafael
    Photo of Burning Helicopter Mejia, Deputy
442
    Wreckage (COLA036078) Henry Shue, Justin
                                Price




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                                                     Defendants’ Exhibits
                                                             #:31366

                                                       If Objection,                                     Grounds for
Ex.
             Description               Witness         Grounds for              Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                         Objection                                      to Authenticity
    1/26/20 Photographs Taken
    at Command Post by Rafael Deputy Rafael
601
    Mejia (COLA000773-        Mejia
    COLA000775)
    1/26/20 Photographs Taken
    at Command Post by Raul   Deputy Raul
602
    Versales (COLA000762-     Versales
    COLA000771)
                                Interim Fire Chief
                                Anthony Marrone;
                                LACFD Risk
    3/6/20 Direct Order to Tony
                                Management Chief
606 Imbrenda (COLA0035086-
                                Julia Kim,
    COLA0035087)
                                Firefighter
                                Specialist Tony
                                Imbrenda
    1/26/20 Photographs taken
    near the command post by
                                  Sergeant Travis
607 Travis Kelly
                                  Kelly
    (COLA000781-
    COLA000796)
      11/3/21 Kroll Supplemental
611                              Justin Price
      Investigative Analysis
      POST Basic Course           Captain Mark
612
      Workbook                    Flores
    Policy and Ethics Chapter
                                Captain Mark
613 from Manual of Policies and
                                Flores
    Procedures
      Updates to Learning         Captain Mark
614
      Domain 30                   Flores
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                                                 Defendants’ Exhibits
                                                            #:31367

                                                   If Objection,                                     Grounds for
Ex.
             Description               Witness     Grounds for              Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                     Objection                                      to Authenticity
    Plaintiff Vanessa Bryant’s
    Amended Responses &
    Objections to Defendant
615                              Plaintiff
    County of Los Angeles’s
    Amended First Set of
    Interrogatories
    Plaintiff Vanessa Bryant’s
    Responses & Objections to
616 Defendant County of Los      Plaintiff
    Angeles’s First Set of
    Requests for Admission
    Plaintiff Vanessa Bryant’s
    Responses & Objections to
617 Defendant County of Los      Plaintiff
    Angeles’s First Set of
    Interrogatories
    Plaintiff Vanessa Bryant’s
    Responses & Objections to
618 Defendant County of Los      Plaintiff
    Angeles’s Amended First
    Set of Interrogatories
    Plaintiff Vanessa Bryant’s
    Second Amended
    Responses & Objections to
619                              Plaintiff
    Defendant County of Los
    Angeles’s Amended First
    Set of Interrogatories




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                                                      Defendants’ Exhibits
                                                            #:31368

                                                        If Objection,                                     Grounds for
Ex.
             Description               Witness          Grounds for              Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                          Objection                                      to Authenticity
    Plaintiff Vanessa Bryant’s
    Third Amended Responses
    & Objections to Defendant
620                              Plaintiff
    County of Los Angeles’s
    Amended First Set of
    Interrogatories
    Plaintiff Vanessa Bryant’s
    Amended Responses &
    Objections to Defendant
621                              Plaintiff
    County of Los Angeles’s
    Second Set of
    Interrogatories
    Plaintiff Vanessa Bryant’s
    Responses & Objections to
622 Defendant County of Los      Plaintiff
    Angeles’s Third Set of
    Interrogatories
                                 LACFD Risk
                                 Management Chief
    Los Angeles County
                                 Julia Kim,
623 General Records Retention
                                 LASD
    Schedule § G.07.070
                                 Commander Scott
                                 Johnson
                                 Interim Fire Chief
                                 Anthony Marrone,
    LACFD 3/3/20 Litigation
                                 Battalion Chief
    Hold re Willow Incident
624                              Roland Sprewell,
    (COLA035934 –
                                 LACFD Risk
    COLA035941)
                                 Management Chief
                                 Julia Kim


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                                                           If Objection,                                     Grounds for
Ex.
             Description                 Witness           Grounds for              Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                             Objection                                      to Authenticity
    Written confirmations of        Interim Fire Chief
    receipt of 3/3/20 LACFD         Anthony Marrone,
625 Litigation Hold re Willow       LACFD Risk
    Incident (COLA035934 –          Management Chief
    COLA035941)                     Julia Kim
                                    Interim Fire Chief
    LACFD 7/21/20 Revised
                                    Anthony Marrone,
    Litigation Hold re Willow
626                                 LACFD Risk
    Incident (COLA035951 –
                                    Management Chief
    COLA035954)
                                    Julia Kim
                                    Interim Fire Chief
    Written confirmations of
                                    Anthony Marrone,
    receipt of 7/21/20 Litigation
                                    Battalion Chief
    Hold re Willow Incident
627                                 Roland Sprewell,
    (COLA035955 –
                                    LACFD Risk
    COLA035956;
                                    Management Chief
    COLA035943)
                                    Julia Kim
    Forensic Extraction Report
                                    LACFD Risk
    for Tony Imbrenda’s
628                                 Management Chief
    LACFD –issued cellphone
                                    Julia Kim
    (COLA035475)
    Forensic Extraction Report
                               LACFD Risk
    for Arlin Kahan’s LACFD –
629                            Management Chief
    issued cellphone
                               Julia Kim
    (COLA035331)
    Forensic Extraction Report
                                    LACFD Risk
    for Brian Jordan’s LACFD
630                                 Management Chief
    –issued cellphone
                                    Julia Kim
    (COLA035332)


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                                                     Defendants’ Exhibits
                                                            #:31370

                                                       If Objection,                                     Grounds for
Ex.
             Description              Witness          Grounds for              Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                         Objection                                      to Authenticity
    Chain of Custody re
                              LACFD Risk
    LACFD-issued cellphones
631                           Management Chief
    (Case No. 2:20-cv-09582-
                              Julia Kim
    JFW-E Dkt. 151-63, 52-53)
    5/11/20 Notice re Notice of
    Civil Claim of Vanessa        LASD
632 Bryant to Captain Salvador    Commander Scott
    Becerra (COLA035976 –         Johnson
    COLA035982)
    6/23/20 Notice re Notice of   Sheriff Alex
    Civil Claim of Vanessa        Villanueva, LASD
633
    Bryant (COLA035969 –          Commander Scott
    COLA035975)                   Johnson
                                  LASD
                                  Commander
    7/24/20 LASD Litigation
                                  William Jaeger,
634 Hold Notice
                                  LASD
    (COLA035957)
                                  Commander Scott
                                  Johnson
                                  LASD
                                  Commander
    Lt. Kallenberger’s 7/24/20
                                  William Jaeger,
635 response to Litigation Hold
                                  LASD
    Notice (COLA035958)
                                  Commander Scott
                                  Johnson




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                                                     Defendants’ Exhibits
                                                            #:31371

                                                       If Objection,                                     Grounds for
Ex.
             Description              Witness          Grounds for              Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                         Objection                                      to Authenticity
    7/24/20 email
    correspondence between Lt.    LASD
    Kallenberger and Janel        Commander
    Ramos re notifying “all       William Jaeger,
636
    appropriate involved units    LASD
    regarding the Bryant crash”   Commander Scott
    (COLA035959 –                 Johnson
    COLA035960)
                                  LASD Lieutenant
    7/27/20 email
                                  Hector Mancinas,
    correspondence from Janel
                                  LASD
    Ramos forwarding LASD
637                               Commander Jorge
    Litigation Hold Notice
                                  Valdez, LASD
    (COLA035961 –
                                  Commander Scott
    COLA035962)
                                  Johnson
                               LASD
                               Commander Jorge
                               Valdez, LASD
    7/27/20 email from
                               Chief Dennis
    Commander Valdez
                               Kneer, LASD
638 forwarding LASD Litigation
                               Assistant Sheriff
    Hold Notice (COLA035963
                               Steven Gross,
    – COLA035964)
                               LASD
                               Commander Scott
                               Johnson
    7/27/20 email from            LASD
    Constitutional Policy         Commander
    Advisor Georgina Glaviano     William Jaeger,
639
    forwarding LASD Litigation    LASD
    Hold Notice (COLA035965       Commander Scott
    – COLA035968)                 Johnson

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                                                        Defendants’ Exhibits
                                                           #:31372

                                                          If Objection,                                     Grounds for
Ex.
            Description                Witness            Grounds for              Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                            Objection                                      to Authenticity
    1/27/20 LA Times Article re   Plaintiff, Sergeant
    Kobe Bryant’s death in        Robert Boese,
    helicopter crash stuns the    Deputy Rafael
    world, leaves L.A. grieving   Mejia, Deputy
640
    (https://www.latimes.com/c    Raul Versales,
    alifornia/story/2020-01-      Deputy Joey Cruz,
    27/kobe-bryant-killed-        Deputy Michael
    helicopter-crash)             Russell
    7/3/20 LA Times Article re    Plaintiff, Sergeant
    Text messages reconstruct     Robert Boese,
    copter crash that killed      Deputy Rafael
    Kobe Bryant, eight others     Mejia, Deputy
641
    (https://www.latimes.com/s    Raul Versales,
    ports/story/2020-07-          Deputy Joey Cruz,
    03/reconstruct-of-kobe-       Deputy Michael
    bryant-copter-crash)          Russell
    12/21/21 LA Times Article
    re A deputy showed images     Plaintiff, Sergeant
    in a bar of Kobe Bryant’s     Robert Boese,
    body. Vanessa Bryant now      Deputy Rafael
    wants justice                 Mejia, Deputy
642
    (https://www.latimes.com/c    Raul Versales,
    alifornia/story/2021-12-      Deputy Joey Cruz,
    21/vanessa-bryant-kobe-       Deputy Michael
    bryant-death-photos-          Russell
    lawsuit-la-county-sheriff)




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                                                          Defendants’ Exhibits
                                                            #:31373

                                                            If Objection,                                     Grounds for
Ex.
             Description                 Witness            Grounds for              Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                              Objection                                      to Authenticity
                               Plaintiff, Sergeant
                               Robert Boese,
    1/26/20 Tweet from RMG
                               Deputy Rafael
    News
                               Mejia, Deputy
643 (https://twitter.com/RMGNe
                               Raul Versales,
    ws/status/122153136135106
                               Deputy Joey Cruz,
    1505)
                               Deputy Michael
                               Russell
    1/27/20 Fox 11 news video
    re Federal officials            Plaintiff, Sergeant
    investigate deadly helicopter   Robert Boese,
    crash that killed nine,         Deputy Rafael
    including Kobe Bryant           Mejia, Deputy
644
    (https://www.foxla.com/new      Raul Versales,
    s/federal-officials-            Deputy Joey Cruz,
    investigate-deadly-             Deputy Michael
    helicopter-crash-that-killed-   Russell
    nine-including-kobe-bryant)
                                    Plaintiff, Sergeant
    1/28/20 ABC7 news video
                                    Robert Boese,
    re Kobe Bryant crash: Nest
                                    Deputy Rafael
    video captures audio of
                                    Mejia, Deputy
645 helicopter’s final moments
                                    Raul Versales,
    (https://abc7.com/kobe-
                                    Deputy Joey Cruz,
    bryant-crash-death-ring-
                                    Deputy Michael
    video/5886910/)
                                    Russell




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                                                         Defendants’ Exhibits
                                                            #:31374

                                                           If Objection,                                     Grounds for
Ex.
             Description                Witness            Grounds for              Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                             Objection                                      to Authenticity
                               Plaintiff, Sergeant
                               Robert Boese,
    1/28/20 NTSB Calabasas,
                               Deputy Rafael
    CA Helicopter Crash B-Roll
                               Mejia, Deputy
646 video
                               Raul Versales,
    (https://www.youtube.com/
                               Deputy Joey Cruz,
    watch?v=GvjzFWbJJxo)
                               Deputy Michael
                               Russell
                                   Plaintiff, Sergeant
    1/28/20 RMG News video
                                   Robert Boese,
    re Kobe Bryant, his
                                   Deputy Rafael
    daughter Gianna and Seven
                                   Mejia, Deputy
647 others killed in Calabasas
                                   Raul Versales,
    helicopter crash, California
                                   Deputy Joey Cruz,
    (https://www.youtube.com/
                                   Deputy Michael
    watch?v=Ucfar2RUXkU)
                                   Russell
    1/30/20 Reuters news video     Plaintiff, Sergeant
    re Helicopter in Kobe          Robert Boese,
    Bryant crash lacked            Deputy Rafael
    certificate to fly in fog      Mejia, Deputy
648
    (https://www.reuters.com/ar    Raul Versales,
    ticle/us-people-kobe-bryant-   Deputy Joey Cruz,
    helicopter-                    Deputy Michael
    idUSKBN1ZU0NL)                 Russell
    1/31/20 ABC7 news video        Plaintiff, Sergeant
    re SoCal congressman           Robert Boese,
    introduces bill to improve     Deputy Rafael
    helicopter safety after Kobe   Mejia, Deputy
649
    Bryant crash                   Raul Versales,
    (https://abc7news.com/helic    Deputy Joey Cruz,
    opter-crash-calabasas-kobe-    Deputy Michael
    bryant-dead/5894224/)          Russell
                                                                           - 81 -
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                                                            #:31375

                                                            If Objection,                                     Grounds for
Ex.
             Description                 Witness            Grounds for              Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                              Objection                                      to Authenticity
                                    Plaintiff, Sergeant
    6/17/20 ABC World News
                                    Robert Boese,
    Tonight news video re
                                    Deputy Rafael
    Investigation into helicopter
                                    Mejia, Deputy
650 crash that killed Kobe
                                    Raul Versales,
    Bryant
                                    Deputy Joey Cruz,
    (https://www.youtube.com/
                                    Deputy Michael
    watch?v=5uef8Vb4J7Y)
                                    Russell
                                    Plaintiff, Sergeant
    2/11/20 ABC7 news video
                                    Robert Boese,
    re New video shows
                                    Deputy Rafael
    wreckage from helicopter
                                    Mejia, Deputy
651 crash that killed Kobe
                                    Raul Versales,
    Bryant, 8 others
                                    Deputy Joey Cruz,
    (https://www.youtube.com/
                                    Deputy Michael
    watch?v=NerEjGL91IU)
                                    Russell
    2/7/20 Foxla.com Article re
    Preliminary report reveals      Plaintiff, Sergeant
    no engine failure in deadly     Robert Boese,
    Kobe Bryant helicopter          Deputy Rafael
    crash                           Mejia, Deputy
652
    (https://www.foxla.com/new      Raul Versales,
    s/preliminary-report-           Deputy Joey Cruz,
    reveals-no-engine-failure-      Deputy Michael
    in-deadly-kobe-bryant-          Russell
    helicopter-crash)




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                                                            #:31376

                                                            If Objection,                                     Grounds for
Ex.
             Description                 Witness            Grounds for              Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                              Objection                                      to Authenticity
    2/9/21 Bloomberg Article re
                                    Plaintiff, Sergeant
    NTSB Finds Pilot Caused
                                    Robert Boese,
    Kobe Bryant Crash by
                                    Deputy Rafael
    Flying Into Fog
                                    Mejia, Deputy
653 (https://www.bloomberg.co
                                    Raul Versales,
    m/news/articles/2021-02-
                                    Deputy Joey Cruz,
    09/kobe-bryant-pilot-failed-
                                    Deputy Michael
    to-follow-training-to-avoid-
                                    Russell
    fatal-crash)
    1/6/22 LA Daily News
    Article re LA County says it
                                    Plaintiff, Sergeant
    will prevail in Kobe Bryant
                                    Robert Boese,
    crash photo lawsuit, but
                                    Deputy Rafael
    Vanessa Bryant presses on
                                    Mejia, Deputy
655 (https://www.dailynews.co
                                    Raul Versales,
    m/2022/01/06/la-county-
                                    Deputy Joey Cruz,
    says-it-will-prevail-in-kobe-
                                    Deputy Michael
    bryant-crash-photo-lawsuit-
                                    Russell
    but-vanessa-bryant-presses-
    on/)
    2/7/20 WHYY.org Article         Plaintiff, Sergeant
    re Probe: No signs of           Robert Boese,
    outward engine failure in       Deputy Rafael
    Kobe Bryant crash               Mejia, Deputy
657
    (https://whyy.org/articles/pr   Raul Versales,
    obe-no-signs-of-outward-        Deputy Joey Cruz,
    engine-failure-in-bryant-       Deputy Michael
    crash/)                         Russell




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                                                           If Objection,                                     Grounds for
Ex.
             Description                Witness            Grounds for              Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                             Objection                                      to Authenticity
    2/10/21 Mercury News
    Article re Terrain warning
                                   Plaintiff, Sergeant
    would not have averted
                                   Robert Boese,
    Kobe Bryant helicopter
                                   Deputy Rafael
    crash, NTSB chair says
                                   Mejia, Deputy
658 (https://www.mercurynews.
                                   Raul Versales,
    com/2021/02/10/terrain-
                                   Deputy Joey Cruz,
    warning-would-not-have-
                                   Deputy Michael
    averted-kobe-bryant-
                                   Russell
    helicopter-crash-ntsb-chair-
    says/)
    4/21/20 USA Today Article
    re Families sue helicopter     Plaintiff, Sergeant
    company in deadly Kobe         Robert Boese,
    Bryant crash, but do not       Deputy Rafael
    name pilot                     Mejia, Deputy
661
    (https://www.usatoday.com/     Raul Versales,
    story/sports/nba/2020/04/21/   Deputy Joey Cruz,
    kobe-bryant-crash-families-    Deputy Michael
    sue-helicopter-company-©-      Russell
    name-pilot/2995005001/)




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                                                        Defendants’ Exhibits
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                                                          If Objection,                                     Grounds for
Ex.
             Description                Witness           Grounds for              Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                            Objection                                      to Authenticity
    6/17/20 Washington Post
    Article re Pilot in Kobe
    Bryant helicopter crash may
    have disoriented in fog,
                                  Plaintiff, Sergeant
    federal investigators say
                                  Robert Boese,
    (https://www.washingtonpo
                                  Deputy Rafael
    st.com/local/trafficandcom
                                  Mejia, Deputy
662 muting/pilot-in-kobe-
                                  Raul Versales,
    bryant-helicopter-crash-
                                  Deputy Joey Cruz,
    may-have-become-
                                  Deputy Michael
    disoriented-in-fog-federal-
                                  Russell
    investigators-
    say/2020/06/17/0c226af2-
    b0dc-11ea-856d-
    5054296735e5_story.html)
                               Plaintiff, Sergeant
                               Robert Boese,
                               Deputy Rafael
    Google search results for  Mejia, Deputy
663
    “Kobe Bryant crash photos” Raul Versales,
                               Deputy Joey Cruz,
                               Deputy Michael
                               Russell
    Vanessa Bryant
    communications with Dr.
664                          Plaintiff
    David Rice (VB00003588 –
    VB00003618)
    Records produced by Dr.
                                  Plaintiff
665 David Rice (RICE0000001
    – RICE0000110)


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                                                     Defendants’ Exhibits
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                                                        If Objection,                                                  Grounds for
Ex.
             Description             Witness            Grounds for                Response to Objection              Refusing to Stip.   Court’s Ruling
No.
                                                          Objection                                                   to Authenticity
                               Plaintiff, Sergeant
                               Robert Boese,
    Getty Images – Kobe Crash Deputy Rafael
    Premium High Res Photos Mejia, Deputy
666
    (https://www.gettyimages.c Raul Versales,
    om/photos/kobe-crash)      Deputy Joey Cruz,
                               Deputy Michael
                               Russell
                                                     Composite / not a
                                                     single document;
                                                                             Plaintiff’s Instagram account and
                                                     relevance (FRE
                                                                             posts are highly probative of
                                                     402); unfair
                                                                             Plaintiff’s mental state, which
                                                     prejudice,
                                                                             Plaintiff has put at issue by alleging
                                                     confusion, and/or
                                                                             she suffers from severe emotional
                                                     waste of time
                                                                             distress. Plaintiff’s Instagram posts
                                                     (FRE 403);
                                                                             are not hearsay pursuant to FRE
    Vanessa Bryant Instagram                         inadmissible
                                                                             801(d)(2)(A).
    Account and Posts -                              hearsay (FRE
668 @vanessabryant             Plaintiff             802); subject to        Plaintiff’s public Instagram posts do
    (https://www.instagram.com                       Plaintiff’s MIL #3      not relate to her wealth or financial
    /vanessabryant)                                  to exclude              condition, and is not implicated by
                                                     evidence of             Plaintiff’s MIL No. 3.
                                                     Plaintiff’s financial   Ex. 668 is not hearsay pursuant to
                                                     condition,              FRE 801(d)(2)(A). They are party
                                                     including               admissions.
                                                     references to           The witness will provide proper
                                                     settlement of prior     foundation at trial.
                                                     lawsuit; foundation
                                                     (FRE 104(a))




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                                                 Defendants’ Exhibits
                                                            #:31380

                                                    If Objection,                                                  Grounds for
Ex.
             Description               Witness      Grounds for                Response to Objection              Refusing to Stip.   Court’s Ruling
No.
                                                      Objection                                                   to Authenticity
                                                                         Exhibit 669 is not unfairly
                                                 Relevance (FRE          prejudicial, but rather is highly
                                                 402); unfair            probative of Plaintiff’s mental state,
                                                 prejudice,              which Plaintiff has put at issue by
                                                 confusion, and/or       alleging she suffers from severe
                                                 waste of time           emotional distress. Plaintiff’s
                                                 (FRE 403);              emotional state may have been
                                                 inadmissible            effected by causes or stressors, other
    Complaint for Damages,                       hearsay (FRE            than Defendant’s alleged actions.
    Urbieta v. Bryant, et al.,                   802); subject to        See e.g., E.E.O.C. v. California
669 Orange County Superior       Plaintiff       Plaintiff’s MIL #3      Psychiatric Transitions, 258 F.R.D.
    Court, Case No. 30-2020-                     to exclude              391, 400 (E.D. Cal. 2009).
    01174715-U-FR-CJC                            evidence of             Involvement in a separate lawsuit is
                                                 Plaintiff’s financial   therefore relevant to Plaintiff’s
                                                 condition,              emotional state.
                                                 including
                                                                         Exhibit 669 is not hearsay because it
                                                 references to
                                                                         is not being offered for the truth of
                                                 settlement of prior
                                                                         the matters asserted in the document.
                                                 lawsuit; foundation
                                                 (FRE 104(a))            The witness will provide proper
                                                                         foundation at trial.




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                                                 Defendants’ Exhibits
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                                                    If Objection,                                                  Grounds for
Ex.
             Description               Witness      Grounds for                Response to Objection              Refusing to Stip.   Court’s Ruling
No.
                                                      Objection                                                   to Authenticity
                                                                         Exhibit 670 is not unfairly
                                                 Relevance (FRE          prejudicial, but rather is highly
                                                 402); unfair            probative of Plaintiff’s mental state,
                                                 prejudice,              which Plaintiff has put at issue by
                                                 confusion, and/or       alleging she suffers from severe
                                                 waste of time           emotional distress. Plaintiff’s
                                                 (FRE 403);              emotional state may have been
                                                 inadmissible            effected by causes or stressors, other
    Notice of Settlement of
                                                 hearsay (FRE            than Defendants’ alleged actions.
    Entire Case, Urbieta v.
                                                 802); subject to        See e.g., E.E.O.C. v. California
    Bryant, et al., Orange
670                              Plaintiff       Plaintiff’s MIL #3      Psychiatric Transitions, 258 F.R.D.
    County Superior Court,
                                                 to exclude              391, 400 (E.D. Cal. 2009).
    Case No. 30-2020-
                                                 evidence of             Involvement in a separate lawsuit is
    01174715-U-FR-CJC
                                                 Plaintiff’s financial   therefore relevant to Plaintiff’s
                                                 condition,              emotional state.
                                                 including
                                                                         Exhibit 670 is not hearsay because it
                                                 references to
                                                                         is not being offered for the truth of
                                                 settlement of prior
                                                                         the matters asserted in document.
                                                 lawsuit; foundation
                                                 (FRE 104(a))            The witness will provide proper
                                                                         foundation at trial.




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                                                    If Objection,                                                  Grounds for
Ex.
             Description               Witness      Grounds for                Response to Objection              Refusing to Stip.   Court’s Ruling
No.
                                                      Objection                                                   to Authenticity
                                                                         Exhibit 671 is not unfairly
                                                 Relevance (FRE          prejudicial, but rather is highly
                                                 402); unfair            probative of Plaintiff’s mental state,
                                                 prejudice,              which Plaintiff has put at issue by
                                                 confusion, and/or       alleging she suffers from severe
                                                 waste of time           emotional distress. Plaintiff’s
                                                 (FRE 403);              emotional state may have been
                                                 inadmissible            effected by causes or stressors, other
    Request for Dismissal,                       hearsay (FRE            than Defendant’s alleged actions.
    Urbieta v. Bryant, et al.,                   802); subject to        See e.g., E.E.O.C. v. California
671 Orange County Superior       Plaintiff       Plaintiff’s MIL #3      Psychiatric Transitions, 258 F.R.D.
    Court, Case No. 30-2020-                     to exclude              391, 400 (E.D. Cal. 2009).
    01174715-U-FR-CJC                            evidence of             Involvement in a separate lawsuit is
                                                 Plaintiff’s financial   therefore relevant to Plaintiff’s
                                                 condition,              emotional state.
                                                 including
                                                                         Exhibit 671 is not hearsay because it
                                                 references to
                                                                         is not being offered for the truth of
                                                 settlement of prior
                                                                         the matters asserted in the document.
                                                 lawsuit; foundation
                                                 (FRE 104(a))            The witness will provide proper
                                                                         foundation at trial.




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                                                     If Objection,                                                   Grounds for
Ex.
             Description                Witness      Grounds for                Response to Objection               Refusing to Stip.    Court’s Ruling
No.
                                                       Objection                                                    to Authenticity
                                                                          As more fully briefed in Defendants’
                                                                          Opposition to Plaintiff’s MIL No. 3,
                                                                          this document is relevant and
                                                                          admissible. Plaintiff intends to
                                                                          introduce evidence about the crash
                                                  Relevance (FRE          that killed her husband and daughter.
                                                  402); unfair            Defendants are entitled to tell the
                                                  prejudice,              jury that any emotional distress
                                                  confusion, and/or       Plaintiff suffered as a result of the
                                                  waste of time           crash is not Defendants’ fault.
    Joint Stipulation of                          (FRE 403);              Defendants are also entitled to tell
    Dismissal with Prejudice,                     inadmissible            the jury that Plaintiff sued the
    Bryant, et al. v. Island                      hearsay (FRE            helicopter operators and settled her                          Excluded.
    Express Helicopters, Inc., et                 802); subject to        claims. It would be prejudicial to                            Inadmissible
672 al., United States District   Plaintiff       Plaintiff’s MIL #3      Defendants and confusing for jurors                           (Ruling on
    Court, Central District of                    to exclude              if Defendants were precluded from                             Plaintiffs’ MIL
    California, Case No. 2:20-                    evidence of             telling the jury this. Plaintiff cannot                       #3).
    cv-08953 FMO (PVCx)                           Plaintiff’s financial   recover for emotional distress caused
    [Dkt. 121.]                                   condition,              by the loss of her husband and
                                                  including               daughter.
                                                  references to
                                                                          Exhibit 672 is not hearsay because it
                                                  settlement of prior
                                                                          is not being offered for the truth of
                                                  lawsuit; foundation
                                                                          the statements contained therein, but
                                                  (FRE 104(a))
                                                                          to show that Plaintiff sued the
                                                                          helicopter operators and settled her
                                                                          claims for the helicopter crash itself.
                                                                          The witness will provide proper
                                                                          foundation at trial.




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                           Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 *Page 93 of 123 Page ID
                                                  Defendants’ Exhibits
                                                            #:31384

                                                     If Objection,                                                   Grounds for
Ex.
             Description                Witness      Grounds for                Response to Objection               Refusing to Stip.    Court’s Ruling
No.
                                                       Objection                                                    to Authenticity
                                                                          As more fully briefed in Defendants’
                                                                          Opposition to Plaintiff’s MIL No. 3,
                                                                          this document is relevant and
                                                                          admissible. Plaintiff intends to
                                                                          introduce evidence about the crash
                                                  Relevance (FRE          that killed her husband and daughter.
                                                  402); unfair            Defendants are entitled to tell the
                                                  prejudice,              jury that any emotional distress
                                                  confusion, and/or       Plaintiff suffered as a result of the
                                                  waste of time           crash is not Defendants’ fault.
    Order Dismissing Action                       (FRE 403);              Defendants are also entitled to tell
    with Prejudice re Bryant                      inadmissible            the jury that Plaintiff sued the
    Plaintiffs, Bryant, et al. v.                 hearsay (FRE            helicopter operators and settled her                          Excluded.
    Island Express Helicopters,                   802); subject to        claims. It would be prejudicial to                            Inadmissible
673 Inc., et al., United States   Plaintiff       Plaintiff’s MIL #3      Defendants and confusing for jurors                           (Ruling on
    District Court, Central                       to exclude              if Defendants were precluded from                             Plaintiffs’ MIL
    District of California, Case                  evidence of             telling the jury this. Plaintiff cannot                       #3).
    No. 2:20-cv-08953 FMO                         Plaintiff’s financial   recover for emotional distress caused
    (PVCx) [Dkt. 124.]                            condition,              by the loss of her husband and
                                                  including               daughter.
                                                  references to
                                                                          Exhibit 673 is not hearsay because it
                                                  settlement of prior
                                                                          is not being offered for the truth of
                                                  lawsuit; foundation
                                                                          the statements contained therein, but
                                                  (FRE 104(a))
                                                                          to show that Plaintiff sued the
                                                                          helicopter operators and settled her
                                                                          claims for the helicopter crash itself.
                                                                          The witness will provide proper
                                                                          foundation at trial.




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                           Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 *Page 94 of 123 Page ID
                                                  Defendants’ Exhibits
                                                            #:31385

                                                     If Objection,                                                   Grounds for
Ex.
             Description                Witness      Grounds for                Response to Objection               Refusing to Stip.    Court’s Ruling
No.
                                                       Objection                                                    to Authenticity
                                                                          As more fully briefed in Defendants’
                                                                          Opposition to Plaintiff’s MIL No. 3,
                                                                          this document is relevant and
                                                                          admissible. Plaintiff intends to
                                                                          introduce evidence about the crash
                                                  Relevance (FRE          that killed her husband and daughter.
                                                  402); unfair            Defendants are entitled to tell the
                                                  prejudice,              jury that any emotional distress
                                                  confusion, and/or       Plaintiff suffered as a result of the
                                                  waste of time           crash is not Defendants’ fault.
    Joint Stipulation of                          (FRE 403);              Defendants are also entitled to tell
    Dismissal with Prejudice,                     inadmissible            the jury that Plaintiff sued the
    Bryant, et al. v. Island                      hearsay (FRE            helicopter operators and settled her                          Excluded.
    Express Helicopters, Inc., et                 802); subject to        claims. It would be prejudicial to                            Inadmissible
674 al., United States District   Plaintiff       Plaintiff’s MIL #3      Defendants and confusing for jurors                           (Ruling on
    Court, Central District of                    to exclude              if Defendants were precluded from                             Plaintiffs’ MIL
    California, Case No. 2:20-                    evidence of             telling the jury this. Plaintiff cannot                       #3).
    cv-08953 FMO (PVCx)                           Plaintiff’s financial   recover for emotional distress caused
    [Dkt. 125.]                                   condition,              by the loss of her husband and
                                                  including               daughter.
                                                  references to
                                                                          Exhibit 674 is not hearsay because it
                                                  settlement of prior
                                                                          is not being offered for the truth of
                                                  lawsuit; foundation
                                                                          the statements contained therein, but
                                                  (FRE 104(a))
                                                                          to show that Plaintiff sued the
                                                                          helicopter operators and settled her
                                                                          claims for the helicopter crash itself.
                                                                          The witness will provide proper
                                                                          foundation at trial.




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                           Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 *Page 95 of 123 Page ID
                                                  Defendants’ Exhibits
                                                            #:31386

                                                     If Objection,                                                   Grounds for
Ex.
             Description                Witness      Grounds for                Response to Objection               Refusing to Stip.    Court’s Ruling
No.
                                                       Objection                                                    to Authenticity
                                                                          As more fully briefed in Defendants’
                                                                          Opposition to Plaintiff’s MIL No. 3,
                                                                          this document is relevant and
                                                                          admissible. Plaintiff intends to
                                                                          introduce evidence about the crash
                                                  Relevance (FRE          that killed her husband and daughter.
                                                  402); unfair            Defendants are entitled to tell the
                                                  prejudice,              jury that any emotional distress
                                                  confusion, and/or       Plaintiff suffered as a result of the
                                                  waste of time           crash is not Defendants’ fault.
                                                  (FRE 403);              Defendants are also entitled to tell
    Order Dismissing Action,
                                                  inadmissible            the jury that Plaintiff sued the
    Bryant, et al. v. Island
                                                  hearsay (FRE            helicopter operators and settled her                          Excluded.
    Express Helicopters, Inc., et
                                                  802); subject to        claims. It would be prejudicial to                            Inadmissible
    al., United States District
675                               Plaintiff       Plaintiff’s MIL #3      Defendants and confusing for jurors                           (Ruling on
    Court, Central District of
                                                  to exclude              if Defendants were precluded from                             Plaintiffs’ MIL
    California, Case No. 2:20-
                                                  evidence of             telling the jury this. Plaintiff cannot                       #3).
    cv-08953 FMO (PVCx)
                                                  Plaintiff’s financial   recover for emotional distress caused
    [Dkt. 139.]
                                                  condition,              by the loss of her husband and
                                                  including               daughter.
                                                  references to
                                                                          Exhibit 675 is not hearsay because it
                                                  settlement of prior
                                                                          is not being offered for the truth of
                                                  lawsuit; foundation
                                                                          the statements contained therein, but
                                                  (FRE 104(a))
                                                                          to show that Plaintiff sued the
                                                                          helicopter operators and settled her
                                                                          claims for the helicopter crash itself.
                                                                          The witness will provide proper
                                                                          foundation at trial.




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                                                      Defendants’ Exhibits
                                                          #:31387


                                                                          Exhibit 676 is a publicly available
                                                                          document that Plaintiff has had
                                                                          access to throughout the course of
                                                                          this litigation.
                                                                          Plaintiff claims that the County
                                                                          lacked adequate policies and
                                                                          trainings. Defendants are entitled to
                                                                          rebut these allegations by presenting
                                                                          relevant policies and training
                                                                          materials to the jury.
                                                                          Exhibits 676 and 677 are directly
                                                                          referenced in the letters of discipline
                                                      FRCP 37(c)(1) –     that LACFD sent to Fire Captain
                                                      Produced for first Brian Jordan, Fire Captain Tony
                                Interim Fire Chief                        Imbrenda, and Fire Captain Arlin
                                                      time on June 9,
                                Anthony Marrone,                          Kahan. (See Exhibits 26-28.) These
                                                      2022, seven
    Los Angeles County Code     Chief William
                                                      months after fact publicly-available codes were the
    of Ordinances Title 5,      McCloud, Captain
676                                                   discovery cutoff of basis for the discipline imposed.
    Appendix 1 Civil Service    Arlin Kahan, Brian                        Exhibits 26-28 were produced to
                                                      Nov. 29, 2021,
    Rules § 18.031 Discipline   Jordan, Firefighter                       Plaintiff in discovery, submitted by
                                                      despite being
                                Specialist Tony                           her counsel in public filings, and
                                                      responsive to
                                Imbrenda                                  were used by her counsel during
                                                      several of
                                                      Plaintiff’s RFPs    depositions of several witnesses.
                                                                          Documents are only subject to the
                                                                          duty to disclose under Rule
                                                                          26(a)(1)(A)(ii) and the duty to
                                                                          produce under Rule 34(a)(1) if they
                                                                          are in the producing party’s
                                                                          “possession, custody, or control.”
                                                                          Fed. R. Civ. P. 26(a)(1)(A)(ii);
                                                                          34(a)(1). “[A] party is not in
                                                                          ‘control’ of records that the
                                                                          requesting party has equal ability to
                                                                          obtain from public sources.” Diaz v.
                                                                          Cnty. Of Ventura, 512 F. Supp. 3d
                                                                          1030, 1035 (C.D. Cal. 2021)
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                                         Defendants’ Exhibits
                                                     #:31388

                                            If Objection,                                               Grounds for
Ex.
      Description             Witness       Grounds for              Response to Objection             Refusing to Stip.   Court’s Ruling
No.
                                              Objection                                                to Authenticity
                                                               (alteration in original) (quoting
                                                               Rutter Group Prac. Guide, Fed. Civ.
                                                               Pro. Before Trial, Ch. 11(IV)-C).
                                                               Accordingly, publicly available
                                                               documents are not subject to
                                                               exclusion under Rule 37. See Fed.
                                                               R. Civ. P. 37(c)(1) (automatic
                                                               exclusion applies where “a party
                                                               fails to provide information or
                                                               identify a witness as required by
                                                               Rule 26(a) or (c)”).
                                                               In addition, even if public records
                                                               were the subject of mandatory
                                                               disclosure, their public nature makes
                                                               the failure to disclose them
                                                               “harmless” and thus not subject to
                                                               exclusion. Fed. R. Civ. P. 37(c)(1);
                                                               see, e.g., Cmtys. Actively Living
                                                               Indep. & Free v. City of Los
                                                               Angeles, Case No. CV 09–0287
                                                               CBM, 2011 WL 4595993 (C.D. Cal.
                                                               Feb. 10, 2011 (failure to disclose
                                                               FEMA document “harmless because
                                                               it is a publicly available planning
                                                               document”); Diaz, 512 F. Supp. 3d
                                                               at 1035 (failure to disclose harmless
                                                               “because the videos are publicly
                                                               available”).
                                                               Witnesses will provide the proper
                                                               foundation at trial.



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                                                    Defendants’ Exhibits
                                                         #:31389


                                                                        Exhibit 677 is a publicly available
                                                                        document that Plaintiff has had
                                                                        access to throughout the course of
                                                                        this litigation.
                                                                        Plaintiff claims that the County
                                                                        lacked adequate policies and
                                                                        trainings. Defendants are entitled to
                                                                        rebut these allegations by presenting
                                                                        relevant policies and training
                                                                        materials to the jury.
                                                                        Exhibits 676 and 677 are directly
                                                                        referenced in the letters of discipline
                                                    FRCP 37(c)(1) –     that LACFD sent to Fire Captain
                                                    Produced for first Brian Jordan, Fire Captain Tony
                              Interim Fire Chief                        Imbrenda, and Fire Captain Arlin
                                                    time on June 9,
                              Anthony Marrone,                          Kahan. (See Exhibits 26-28.) These
                                                    2022, seven
    LACFD Code of Ethics and Chief William
                                                    months after fact publicly-available codes were the
    Oath of Office – V2-C1-S1 McCloud, Captain
677                                                 discovery cutoff of basis for the discipline imposed.
    10/28/21 Rules and        Arlin Kahan, Brian                        Exhibits 26-28 were produced to
                                                    Nov. 29, 2021,
    Regulations               Jordan, Firefighter                       Plaintiff in discovery, submitted by
                                                    despite being
                              Specialist Tony                           her counsel in public filings, and
                                                    responsive to
                              Imbrenda                                  were used by her counsel during
                                                    several of
                                                    Plaintiff’s RFPs    depositions of several witnesses.
                                                                        Documents are only subject to the
                                                                        duty to disclose under Rule
                                                                        26(a)(1)(A)(ii) and the duty to
                                                                        produce under Rule 34(a)(1) if they
                                                                        are in the producing party’s
                                                                        “possession, custody, or control.”
                                                                        Fed. R. Civ. P. 26(a)(1)(A)(ii);
                                                                        34(a)(1). “[A] party is not in
                                                                        ‘control’ of records that the
                                                                        requesting party has equal ability to
                                                                        obtain from public sources.” Diaz v.
                                                                        Cnty. Of Ventura, 512 F. Supp. 3d
                                                                        1030, 1035 (C.D. Cal. 2021)
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                                         Defendants’ Exhibits
                                                     #:31390

                                            If Objection,                                               Grounds for
Ex.
      Description             Witness       Grounds for              Response to Objection             Refusing to Stip.   Court’s Ruling
No.
                                              Objection                                                to Authenticity
                                                               (alteration in original) (quoting
                                                               Rutter Group Prac. Guide, Fed. Civ.
                                                               Pro. Before Trial, Ch. 11(IV)-C).
                                                               Accordingly, publicly available
                                                               documents are not subject to
                                                               exclusion under Rule 37. See Fed.
                                                               R. Civ. P. 37(c)(1) (automatic
                                                               exclusion applies where “a party
                                                               fails to provide information or
                                                               identify a witness as required by
                                                               Rule 26(a) or (c)”).
                                                               In addition, even if public records
                                                               were the subject of mandatory
                                                               disclosure, their public nature makes
                                                               the failure to disclose them
                                                               “harmless” and thus not subject to
                                                               exclusion. Fed. R. Civ. P. 37(c)(1);
                                                               see, e.g., Cmtys. Actively Living
                                                               Indep. & Free v. City of Los
                                                               Angeles, Case No. CV 09–0287
                                                               CBM, 2011 WL 4595993 (C.D. Cal.
                                                               Feb. 10, 2011 (failure to disclose
                                                               FEMA document “harmless because
                                                               it is a publicly available planning
                                                               document”); Diaz, 512 F. Supp. 3d
                                                               at 1035 (failure to disclose harmless
                                                               “because the videos are publicly
                                                               available”).
                                                               Witnesses will provide the proper
                                                               foundation at trial.



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                                                  Defendants’ Exhibits
                                                            #:31391

                                                    If Objection,                                     Grounds for
Ex.
            Description             Witness         Grounds for              Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                      Objection                                      to Authenticity
                              Captain Mark
                              Flores, Deputy
                              Joey Cruz, Deputy
                              Rafael Mejia,
                              Deputy Raul
                              Versales, Deputy
                              Doug Johnson,
                              Deputy Ruby
    LASD Manual of Policy and Cable, Sergeant
678 Procedures: 5-05/060.10 – Travis Kelly,
    Photographs               Captain Justin
                              Diez, Detective
                              Scott Miller,
                              Deputy Michael
                              Russell, Deputy
                              Ben Sanchez,
                              Deputy Nicholas
                              Bonelli, Deputy
                              Chris Jauregui




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                          Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 *
                                                                               Page 101 of 123 Page ID
                                                  Defendants’ Exhibits
                                                            #:31392

                                                    If Objection,                                     Grounds for
Ex.
            Description             Witness         Grounds for              Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                      Objection                                      to Authenticity
                              Captain Mark
                              Flores, Deputy
                              Joey Cruz, Deputy
                              Rafael Mejia,
                              Deputy Raul
                              Versales, Deputy
                              Doug Johnson,
    LASD Manual of Policy and Deputy Ruby
    Procedures: 5-09/090.00 – Cable, Sergeant
679 Dead Bodies – Homicides, Travis Kelly,
    Suicides, Accidental and  Captain Justin
    Natural                   Diez, Detective
                              Scott Miller,
                              Deputy Michael
                              Russell, Deputy
                              Ben Sanchez,
                              Deputy Nicholas
                              Bonelli, Deputy
                              Chris Jauregui




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                                                  Defendants’ Exhibits
                                                            #:31393

                                                    If Objection,                                      Grounds for
Ex.
            Description             Witness         Grounds for               Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                      Objection                                       to Authenticity
                              Captain Mark
                              Flores, Deputy
                              Joey Cruz, Deputy
                              Rafael Mejia,
                              Deputy Raul
                              Versales, Deputy
                              Doug Johnson,
    LASD Manual of Policy and Deputy Ruby
    Procedures: 5-09/475.00   Cable, Sergeant
680 Photographs/Recordings at Travis Kelly,
    Scenes Where Human        Captain Justin
    Remains are Present       Diez, Detective
                              Scott Miller,
                              Deputy Michael
                              Russell, Deputy
                              Ben Sanchez,
                              Deputy Nicholas
                              Bonelli, Deputy
                              Chris Jauregui




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                                                   Defendants’ Exhibits
                                                           #:31394


                                                                      Exhibit 681 is a publicly available
                                                                      document that Plaintiff has had
                                                                      access to throughout the course of
                                                                      this litigation.
                                                                      Plaintiff claims that the County
                                                                      lacked adequate policies and
                                                                      trainings. Defendants are entitled to
                                                                      rebut these allegations by presenting
                                                                      relevant policies and training
                                Captain Mark
                                                                      materials to the jury.
                                Flores, Deputy
                                Joey Cruz, Deputy                     Plaintiff deposed a 30(b)(6) witness
                                Rafael Mejia,                         on behalf of LASD—Captain Mark
                                Deputy Raul       FRCP 37(c)(1) –     Flores—who testified about LASD’s
                                Versales, Deputy Produced for first policies and trainings, including its
                                Doug Johnson,     time on June 9,     use of the California Commission on
    California Commission on Deputy Ruby          2022, seven         Peace Officer Standards and
    Peace Officer Standards and Cable, Sergeant   months after fact Training’s learning domains in
681 Training – Learning         Travis Kelly,     discovery cutoff of training its personnel in the
    Domain 29: Traffic          Captain Justin    Nov. 29, 2021,      Academy and thereafter.
    Collision Investigation     Diez, Detective   despite being       Documents are only subject to the
                                Scott Miller,     responsive to       duty to disclose under Rule
                                Deputy Michael    several of          26(a)(1)(A)(ii) and the duty to
                                Russell, Deputy   Plaintiff’s RFPs    produce under Rule 34(a)(1) if they
                                Ben Sanchez,                          are in the producing party’s
                                Deputy Nicholas                       “possession, custody, or control.”
                                Bonelli, Deputy                       Fed. R. Civ. P. 26(a)(1)(A)(ii);
                                Chris Jauregui                        34(a)(1). “[A] party is not in
                                                                      ‘control’ of records that the
                                                                      requesting party has equal ability to
                                                                      obtain from public sources.” Diaz v.
                                                                      Cnty. Of Ventura, 512 F. Supp. 3d
                                                                      1030, 1035 (C.D. Cal. 2021)
                                                                      (alteration in original) (quoting
                                                                      Rutter Group Prac. Guide, Fed. Civ.
                                                                      Pro. Before Trial, Ch. 11(IV)-C).
                                                                      Accordingly, publicly available
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                    Case 2:20-cv-09582-JFW-E Document 376 Filed 08/08/22 *
                                                                         Page 104 of 123 Page ID
                                         Defendants’ Exhibits
                                                      #:31395

                                            If Objection,                                                Grounds for
Ex.
      Description             Witness       Grounds for               Response to Objection             Refusing to Stip.   Court’s Ruling
No.
                                              Objection                                                 to Authenticity
                                                                documents are not subject to
                                                                exclusion under Rule 37. See Fed.
                                                                R. Civ. P. 37(c)(1) (automatic
                                                                exclusion applies where “a party
                                                                fails to provide information or
                                                                identify a witness as required by
                                                                Rule 26(a) or (c)”).
                                                                In addition, even if public records
                                                                were the subject of mandatory
                                                                disclosure, their public nature makes
                                                                the failure to disclose them
                                                                “harmless” and thus not subject to
                                                                exclusion. Fed. R. Civ. P. 37(c)(1);
                                                                see, e.g., Cmtys. Actively Living
                                                                Indep. & Free v. City of Los
                                                                Angeles, Case No. CV 09–0287
                                                                CBM, 2011 WL 4595993 (C.D. Cal.
                                                                Feb. 10, 2011 (failure to disclose
                                                                FEMA document “harmless because
                                                                it is a publicly available planning
                                                                document”); Diaz, 512 F. Supp. 3d
                                                                at 1035 (failure to disclose harmless
                                                                “because the videos are publicly
                                                                available”).
                                                                Witnesses will provide the proper
                                                                foundation at trial.




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                                                   Defendants’ Exhibits
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                                                                      Exhibit 682 is a publicly available
                                                                      document that Plaintiff has had
                                                                      access to throughout the course of
                                                                      this litigation.
                                                                      Plaintiff claims that the County
                                                                      lacked adequate policies and
                                                                      trainings. Defendants are entitled to
                                                                      rebut these allegations by presenting
                                                                      relevant policies and training
                                Captain Mark
                                                                      materials to the jury.
                                Flores, Deputy
                                Joey Cruz, Deputy                     Plaintiff deposed a 30(b)(6) witness
                                Rafael Mejia,                         on behalf of LASD—Captain Mark
                                Deputy Raul       FRCP 37(c)(1) –     Flores—who testified about LASD’s
                                Versales, Deputy Produced for first policies and trainings, including its
                                Doug Johnson,     time on June 9,     use of the California Commission on
    California Commission on Deputy Ruby          2022, seven         Peace Officer Standards and
    Peace Officer Standards and Cable, Sergeant   months after fact Training’s learning domains in
682 Training – Learning         Travis Kelly,     discovery cutoff of training its personnel in the
    Domain 1: Leadership,       Captain Justin    Nov. 29, 2021,      Academy and thereafter.
    Professionalism, and Ethics Diez, Detective   despite being       Documents are only subject to the
                                Scott Miller,     responsive to       duty to disclose under Rule
                                Deputy Michael    several of          26(a)(1)(A)(ii) and the duty to
                                Russell, Deputy   Plaintiff’s RFPs    produce under Rule 34(a)(1) if they
                                Ben Sanchez,                          are in the producing party’s
                                Deputy Nicholas                       “possession, custody, or control.”
                                Bonelli, Deputy                       Fed. R. Civ. P. 26(a)(1)(A)(ii);
                                Chris Jauregui                        34(a)(1). “[A] party is not in
                                                                      ‘control’ of records that the
                                                                      requesting party has equal ability to
                                                                      obtain from public sources.” Diaz v.
                                                                      Cnty. Of Ventura, 512 F. Supp. 3d
                                                                      1030, 1035 (C.D. Cal. 2021)
                                                                      (alteration in original) (quoting
                                                                      Rutter Group Prac. Guide, Fed. Civ.
                                                                      Pro. Before Trial, Ch. 11(IV)-C).
                                                                      Accordingly, publicly available
                                                                    - 103 -
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                                         Defendants’ Exhibits
                                                      #:31397

                                            If Objection,                                                Grounds for
Ex.
      Description             Witness       Grounds for               Response to Objection             Refusing to Stip.   Court’s Ruling
No.
                                              Objection                                                 to Authenticity
                                                                documents are not subject to
                                                                exclusion under Rule 37. See Fed.
                                                                R. Civ. P. 37(c)(1) (automatic
                                                                exclusion applies where “a party
                                                                fails to provide information or
                                                                identify a witness as required by
                                                                Rule 26(a) or ©”).
                                                                In addition, even if public records
                                                                were the subject of mandatory
                                                                disclosure, their public nature makes
                                                                the failure to disclose them
                                                                “harmless” and thus not subject to
                                                                exclusion. Fed. R. Civ. P. 37(c)(1);
                                                                see, e.g., Cmtys. Actively Living
                                                                Indep. & Free v. City of Los
                                                                Angeles, Case No. CV 09–0287
                                                                CBM, 2011 WL 4595993 (C.D. Cal.
                                                                Feb. 10, 2011 (failure to disclose
                                                                FEMA document “harmless because
                                                                it is a publicly available planning
                                                                document”); Diaz, 512 F. Supp. 3d
                                                                at 1035 (failure to disclose harmless
                                                                “because the videos are publicly
                                                                available”).
                                                                Witnesses will provide the proper
                                                                foundation at trial.




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                                                   Defendants’ Exhibits
                                                           #:31398


                                                                      Exhibit 683 is a publicly available
                                                                      document that Plaintiff has had
                                                                      access to throughout the course of
                                                                      this litigation.
                                                                      Plaintiff claims that the County
                                                                      lacked adequate policies and
                                                                      trainings. Defendants are entitled to
                                                                      rebut these allegations by presenting
                                                                      relevant policies and training
                                Captain Mark
                                                                      materials to the jury.
                                Flores, Deputy
                                Joey Cruz, Deputy                     Plaintiff deposed a 30(b)(6) witness
                                Rafael Mejia,                         on behalf of LASD—Captain Mark
                                Deputy Raul       FRCP 37(c)(1) -     Flores—who testified about LASD’s
                                Versales, Deputy Produced for first policies and trainings, including its
                                Doug Johnson,     time on June 9,     use of the California Commission on
    California Commission on Deputy Ruby          2022, seven         Peace Officer Standards and
    Peace Officer Standards and Cable, Sergeant   months after fact Training’s learning domains in
683 Training – Learning         Travis Kelly,     discovery cutoff of training its personnel in the
    Domain 00: Becoming an      Captain Justin    Nov. 29, 2021,      Academy and thereafter.
    Exemplary Peace Officer     Diez, Detective   despite being       Documents are only subject to the
                                Scott Miller,     responsive to       duty to disclose under Rule
                                Deputy Michael    several of          26(a)(1)(A)(ii) and the duty to
                                Russell, Deputy   Plaintiff’s RFPs    produce under Rule 34(a)(1) if they
                                Ben Sanchez,                          are in the producing party’s
                                Deputy Nicholas                       “possession, custody, or control.”
                                Bonelli, Deputy                       Fed. R. Civ. P. 26(a)(1)(A)(ii);
                                Chris Jauregui                        34(a)(1). “[A] party is not in
                                                                      ‘control’ of records that the
                                                                      requesting party has equal ability to
                                                                      obtain from public sources.” Diaz v.
                                                                      Cnty. of Ventura, 512 F. Supp. 3d
                                                                      1030, 1035 (C.D. Cal. 2021)
                                                                      (alteration in original) (quoting
                                                                      Rutter Group Prac. Guide, Fed. Civ.
                                                                      Pro. Before Trial, Ch. 11(IV)-C).
                                                                      Accordingly, publicly available
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                                         Defendants’ Exhibits
                                                      #:31399

                                            If Objection,                                                Grounds for
Ex.
      Description             Witness       Grounds for               Response to Objection             Refusing to Stip.   Court’s Ruling
No.
                                              Objection                                                 to Authenticity
                                                                documents are not subject to
                                                                exclusion under Rule 37. See Fed.
                                                                R. Civ. P. 37(c)(1) (automatic
                                                                exclusion applies where “a party
                                                                fails to provide information or
                                                                identify a witness as required by
                                                                Rule 26(a) or (e)”).
                                                                In addition, even if public records
                                                                were the subject of mandatory
                                                                disclosure, their public nature makes
                                                                the failure to disclose them
                                                                “harmless” and thus not subject to
                                                                exclusion. Fed. R. Civ. P. 37(c)(1);
                                                                see, e.g., Cmtys. Actively Living
                                                                Indep. & Free v. City of Los
                                                                Angeles, Case No. CV 09–0287
                                                                CBM, 2011 WL 4595993 (C.D. Cal.
                                                                Feb. 10, 2011 (failure to disclose
                                                                FEMA document “harmless because
                                                                it is a publicly available planning
                                                                document”); Diaz, 512 F. Supp. 3d
                                                                at 1035 (failure to disclose harmless
                                                                “because the videos are publicly
                                                                available”).
                                                                Witnesses will provide the proper
                                                                foundation at trial.




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                                                    Defendants’ Exhibits
                                                            #:31400

                                                      If Objection,                                      Grounds for
Ex.
            Description              Witness          Grounds for               Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                        Objection                                       to Authenticity
                                Captain Mark
                                Flores, Deputy
                                Joey Cruz, Deputy
                                Rafael Mejia,
                                Deputy Raul
                                Versales, Deputy
                                Doug Johnson,
    California Commission on Deputy Ruby
    Peace Officer Standards and Cable, Sergeant
684 Training – Learning         Travis Kelly,
    Domain 30: Crime Scenes, Captain Justin
    Evidence, and Forensics     Diez, Detective
                                Scott Miller,
                                Deputy Michael
                                Russell, Deputy
                                Ben Sanchez,
                                Deputy Nicholas
                                Bonelli, Deputy
                                Chris Jauregui




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                                                     Defendants’ Exhibits
                                                             #:31401

                                                       If Objection,                                      Grounds for
Ex.
             Description             Witness           Grounds for               Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                         Objection                                       to Authenticity
                                 Captain Mark
                                 Flores, Deputy
                                 Joey Cruz, Deputy
                                 Rafael Mejia,
                                 Deputy Raul
                                 Versales, Deputy
                                 Doug Johnson,
                                 Deputy Ruby
    LASD Manual of Policy and Cable, Sergeant
685 Procedure, Volume 3 –        Travis Kelly,
    Chapter 1: Policy and Ethics Captain Justin
                                 Diez, Detective
                                 Scott Miller,
                                 Deputy Michael
                                 Russell, Deputy
                                 Ben Sanchez,
                                 Deputy Nicholas
                                 Bonelli, Deputy
                                 Chris Jauregui




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                                                Defendants’ Exhibits
                                                          #:31402


                                                                    Exhibit 686 is a publicly available
                                                                    document that Plaintiff has had
                                                                    access to throughout the course of
                                                                    this litigation.
                                                                    Plaintiff claims that the County
                                                                    lacked adequate policies and
                                                                    trainings. Defendants are entitled to
                                                                    rebut these allegations by presenting
                                                                    relevant policies and training
                                                                    materials to the jury.
                                                                    Documents are only subject to the
                                                FRCP 37(c)(1) -     duty to disclose under Rule
                                                Produced for first 26(a)(1)(A)(ii) and the duty to
                                                time on June 9,     produce under Rule 34(a)(1) if they
                                                2022, seven         are in the producing party’s
    International Civil Aviation
                                                months after fact “possession, custody, or control.”
    Organization, Annex 13 to
                                                discovery cutoff of Fed. R. Civ. P. 26(a)(1)(A)(ii);
    the Convention on            Captain Mark                       34(a)(1). “[A] party is not in
686                                             Nov. 29, 2021,
    International Civil Aviation Flores                             ‘control’ of records that the
                                                despite being
    – Aircraft Accident and                                         requesting party has equal ability to
                                                responsive to
    Incident Investigation                                          obtain from public sources.” Diaz v.
                                                several of
                                                Plaintiff’s RFPs;   Cnty. of Ventura, 512 F. Supp. 3d
                                                foundation (FRE     1030, 1035 (C.D. Cal. 2021)
                                                104(a))             (alteration in original) (quoting
                                                                    Rutter Group Prac. Guide, Fed. Civ.
                                                                    Pro. Before Trial, Ch. 11(IV)-C).
                                                                    Accordingly, publicly available
                                                                    documents are not subject to
                                                                    exclusion under Rule 37. See Fed.
                                                                    R. Civ. P. 37(c)(1) (automatic
                                                                    exclusion applies where “a party
                                                                    fails to provide information or
                                                                    identify a witness as required by
                                                                    Rule 26(a) or (e)”).
                                                                    In addition, even if public records
                                                                    were the subject of mandatory
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                                         Defendants’ Exhibits
                                                      #:31403

                                            If Objection,                                                Grounds for
Ex.
      Description             Witness       Grounds for               Response to Objection             Refusing to Stip.   Court’s Ruling
No.
                                              Objection                                                 to Authenticity
                                                                disclosure, their public nature makes
                                                                the failure to disclose them
                                                                “harmless” and thus not subject to
                                                                exclusion. Fed. R. Civ. P. 37(c)(1);
                                                                see, e.g., Cmtys. Actively Living
                                                                Indep. & Free v. City of Los
                                                                Angeles, Case No. CV 09–0287
                                                                CBM, 2011 WL 4595993 (C.D. Cal.
                                                                Feb. 10, 2011 (failure to disclose
                                                                FEMA document “harmless because
                                                                it is a publicly available planning
                                                                document”); Diaz, 512 F. Supp. 3d
                                                                at 1035 (failure to disclose harmless
                                                                “because the videos are publicly
                                                                available”).
                                                                Witnesses will provide the proper
                                                                foundation at trial.




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                                                  Defendants’ Exhibits
                                                          #:31404


                                                                      Exhibit 676 is a publicly available
                                                                      document that Plaintiff has had
                                                                      access to throughout the course of
                                                                      this litigation.
                                                                      Plaintiff claims that the County
                                                                      lacked adequate policies and
                                                                      trainings. Defendants are entitled to
                                                                      rebut these allegations by presenting
                                                                      relevant policies and training
                                                                      materials to the jury.
                                                                      Documents are only subject to the
                                                  FRCP 37(c)(1) -     duty to disclose under Rule
                                                  Produced for first 26(a)(1)(A)(ii) and the duty to
                                                  time on June 9,     produce under Rule 34(a)(1) if they
                                                  2022, seven         are in the producing party’s
                                Captain Mark      months after fact “possession, custody, or control.”
    LASD Emergency
                                Flores, Captain   discovery cutoff of Fed. R. Civ. P. 26(a)(1)(A)(ii);
    Operating Procedure 2-2 Air                                       34(a)(1). “[A] party is not in
687                             Justin Diez,      Nov. 29, 2021,
    Disaster (Ground and/or                                           ‘control’ of records that the
                                Sergeant Travis   despite being
    Sea)                                                              requesting party has equal ability to
                                Kelly             responsive to
                                                  several of          obtain from public sources.” Diaz v.
                                                  Plaintiff’s RFPs;   Cnty. of Ventura, 512 F. Supp. 3d
                                                  foundation (FRE     1030, 1035 (C.D. Cal. 2021)
                                                  104(a))             (alteration in original) (quoting
                                                                      Rutter Group Prac. Guide, Fed. Civ.
                                                                      Pro. Before Trial, Ch. 11(IV)-C).
                                                                      Accordingly, publicly available
                                                                      documents are not subject to
                                                                      exclusion under Rule 37. See Fed.
                                                                      R. Civ. P. 37(c)(1) (automatic
                                                                      exclusion applies where “a party
                                                                      fails to provide information or
                                                                      identify a witness as required by
                                                                      Rule 26(a) or (e)”).
                                                                      In addition, even if public records
                                                                      were the subject of mandatory
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                                         Defendants’ Exhibits
                                                      #:31405

                                            If Objection,                                                Grounds for
Ex.
      Description             Witness       Grounds for               Response to Objection             Refusing to Stip.   Court’s Ruling
No.
                                              Objection                                                 to Authenticity
                                                                disclosure, their public nature makes
                                                                the failure to disclose them
                                                                “harmless” and thus not subject to
                                                                exclusion. Fed. R. Civ. P. 37(c)(1);
                                                                see, e.g., Cmtys. Actively Living
                                                                Indep. & Free v. City of Los
                                                                Angeles, Case No. CV 09–0287
                                                                CBM, 2011 WL 4595993 (C.D. Cal.
                                                                Feb. 10, 2011 (failure to disclose
                                                                FEMA document “harmless because
                                                                it is a publicly available planning
                                                                document”); Diaz, 512 F. Supp. 3d
                                                                at 1035 (failure to disclose harmless
                                                                “because the videos are publicly
                                                                available”).
                                                                Witnesses will provide the proper
                                                                foundation at trial.




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                                              Defendants’ Exhibits
                                                          #:31406

                                              Composite / not a       Brian Jordan’s text messages            Mr. Jordan’s
                                              single document;        directly refute one of Plaintiffs’      counsel produced
                                              foundation (FRE         primary theories—that cell records      these documents
                                              (104 (a));              of County personnel showing they        to Plaintiffs for
                                              irrelevant (FRE         sent picture messages evidence          the first time on
                                              104(b), 401, 402);      dissemination of crash site photos.     August 5, 2022,
                                              unfair prejudice,       Plaintiffs specifically argued that     nine months after
                                              confusion, and/or       Mr. Jordan’s “messaging activity        the fact discovery
                                              waste of time           following the crash is compelling       cutoff. The
                                              (FRE 403);              circumstantial evidence that Jordan     documents were
                                              inadmissible            disseminated photos of the Bryants’     produced without
                                              hearsay (FRE            remains more broadly than he has        any evidence
                                              802);                   admitted.” (Dkt. 278 at 167.) Mr.       (testimonial or
                                              authentication          Jordan recently produced the picture    otherwise)
                                              (FRE 901).              messages he sent between January        establishing what
                                              FRCP 37(c)(1) –         and February of 2020 that Plaintiffs    information the
                                              Produced for the        claim were crash site photos. They      documents
    Brian Jordan text messages
                                              first time August       are not crash site photos.              contain or what
688 from January-February 2020 Brian Jordan
                                              5, 2022, nine                                                   methods were
    (JORDAN000001-11)
                                              months after fact       Plaintiffs’ contention that             used to collect the
                                              discovery cutoff of     Defendants could have themselves        information. They
                                              Nov. 29, 2021,          produced the messages earlier is        were produced in
                                              despite being           incorrect. Mr. Jordan is neither a      an irregular
                                              responsive to           party nor a current employee of         format that
                                              several of              Defendants, and he is represented by    appears to
                                              Plaintiff’s RFPs,       separate counsel. See Fed. R. Civ. P.   combine selected
                                              including               37(c)(1) (only authorizing exclusion    fragments of
                                              Plaintiff’s First Set   where a “party” fails to disclose).     multiple text
                                              of RFPs to LAFD         After the close of discovery, Mr.       message
                                              Nos. 1-4, and 6.        Jordan’s separate counsel sent          exchanges into a
                                              By Defendants’          Defendants’ counsel a memorandum        single document.
                                              own admission,          that had redacted portions of text      Because Mr.
                                              they received           messages within it. Mr. Jordan’s        Jordan did not
                                              redacted versions       counsel specifically invoked the        produce these
                                              of these                joint interest privilege in providing   documents during
                                              documents, along        the memorandum. Defendants had          discovery,

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                     Defendants’ Exhibits
                                  #:31407

                      with commentary    no authority to produce the             Plaintiffs had no
                      by Mr. Jordan,     memorandum or any portion of it.        opportunity to
                      several months                                             depose him about
                      ago, but did not   Plaintiffs’ other objections are also this unusual
                      disclose their     misplaced. Plaintiffs contend that      document
                      existence or       Exhibit 688 is a “composite.” But       production.
                      produce them to    the messages are merely presented       Accordingly,
                      Plaintiffs.        as produced, and introducing the        allowing this
                                         relevant messages together is more document into
                                         efficient. See Fed. R. Evid. 601(a) evidence without
                                         (court may exercise control over        authenticating
                                         presentation of evidence to “avoid      testimony would
                                         wasting time”). Nor are the             be contrary to
                                         messages hearsay. The text              FRE 901(a) and
                                         messages are offered only to show       extremely
                                         their actual content—i.e., that the     prejudicial to
                                         pictures are not County photos—not Plaintiffs.
                                         for the truth of anything in the
                                         messages. See Fed. R. Evid. 801(c)
                                         (statement is only hearsay if offered
                                         “to prove the truth of the matter
                                         asserted”). Plaintiffs have not
                                         withdrawn Mr. Jordan’s cellphone
                                         records, so they should not be able to
                                         complain that Defendants intend to
                                         use these text messages to show they
                                         did not include crash site photos. As
                                         for Plaintiffs’ foundation and
                                         authentication objections, Mr.
                                         Jordan can provide any necessary
                                         foundation and authentication at
                                         trial. Exhibit 688 is also not unfairly
                                         prejudicial; it is highly probative
                                         evidence refuting Plaintiffs’ sharing
                                         theory based on cell phone records.


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                                                     If Objection,                                      Grounds for
Ex.
              Description               Witness      Grounds for               Response to Objection   Refusing to Stip.   Court’s Ruling
No.
                                                       Objection                                       to Authenticity
    Plaintiff Christopher
    Chester’s Response to
689                                Chris Chester
    Amended First Set of
    Interrogatories
    Plaintiff Christopher
    Chester’s Responses and
690                                Chris Chester
    Objections to Amended
    First Set of Interrogatories
    Plaintiff Christopher
    Chester’s Response to
691                                Chris Chester
    Second Set of
    Interrogatories
    Plaintiff Christopher
692 Chester’s Response to Third Chris Chester
    Set of Interrogatories
    Plaintiff Christopher
    Chester’s Response to First
693                                Chris Chester
    Set of Requests for
    Admission




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                                                Defendants’ Exhibits
                                                           #:31409

                                                Composite / not a       Brian Jordan’s text messages            Mr. Jordan’s
                                                single document;        directly refute one of Plaintiffs’      counsel produced
                                                foundation (FRE         primary theories—that cell records      these documents
                                                (104 (a));              of County personnel showing they        to Plaintiffs for
                                                irrelevant (FRE         sent picture messages evidence          the first time on
                                                104(b), 401, 402);      dissemination of crash site photos.     August 5, 2022,
                                                unfair prejudice,       Plaintiffs specifically argued that     nine months after
                                                confusion, and/or       Mr. Jordan’s “messaging activity        the fact discovery
                                                waste of time           following the crash is compelling       cutoff. The
                                                (FRE 403);              circumstantial evidence that Jordan     documents were
                                                inadmissible            disseminated photos of the Bryants’     produced without
                                                hearsay (FRE            remains more broadly than he has        any evidence
                                                802);                   admitted.” (Dkt. 278 at 167.) Mr.       (testimonial or
                                                authentication          Jordan recently produced the picture    otherwise)
                                                (FRE 901). FRCP         messages he sent between January        establishing what
                                                37(c)(1) –              and February of 2020 that Plaintiffs    information the
                                                Produced for the        claim were crash site photos. They      documents
    Additional Brian Jordan text
                                                first time August       are not crash site photos.              contain or what
694 messages from January-       Brian Jordan
                                                5, 2022, nine                                                   methods were
    February 2020
                                                months after fact       Plaintiffs’ contention that             used to collect the
                                                discovery cutoff of     Defendants could have themselves        information. They
                                                Nov. 29, 2021,          produced the messages earlier is        were produced in
                                                despite being           incorrect. Mr. Jordan is neither a      an irregular
                                                responsive to           party nor a current employee of         format that
                                                several of              Defendants, and he is represented by    appears to
                                                Plaintiff’s RFPs,       separate counsel. See Fed. R. Civ. P.   combine selected
                                                including               37(c)(1) (only authorizing exclusion    fragments of
                                                Plaintiff’s First Set   where a “party” fails to disclose).     multiple text
                                                of RFPs to LAFD         After the close of discovery, Mr.       message
                                                Nos. 1-4, and 6.        Jordan’s separate counsel sent          exchanges into a
                                                By Defendants’          Defendants’ counsel a memorandum        single document.
                                                own admission,          that had redacted portions of text      They also include
                                                they received           messages within it. Mr. Jordan’s        unusual and
                                                redacted versions       counsel specifically invoked the        unexplained
                                                of these                joint interest privilege in providing   notations, such as
                                                documents, along        the memorandum. Defendants had          a handwritten

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                      with commentary    no authority to produce the               note suggesting
                      by Mr. Jordan,     memorandum or any portion of it.          with apparent
                      several months                                               sarcasm that
                      ago, but did not   Plaintiffs’ other objections are also     Plaintiffs request
                      disclose their     misplaced. Plaintiffs contend that        Mr. Jordan’s fifth
                      existence or       Exhibit 694 is a “composite.” But         grade report card.
                      produce them to    the messages are merely presented         Because Mr.
                      Plaintiffs.        as produced, and introducing the          Jordan did not
                                         relevant messages together is more        produce these
                                         efficient. See Fed. R. Evid. 601(a)       documents during
                                         (court may exercise control over          discovery,
                                         presentation of evidence to “avoid        Plaintiffs had no
                                         wasting time”). Nor are the               opportunity to
                                         messages hearsay. The text                depose him about
                                         messages are offered only to show         this unusual
                                         their actual content—i.e., that the       document
                                         pictures are not County photos—not        production.
                                         for the truth of anything in the          Accordingly,
                                         messages. See Fed. R. Evid. 801(c)        allowing this
                                         (statement is only hearsay if offered     document into
                                         “to prove the truth of the matter         evidence without
                                         asserted”). Plaintiffs have not           authenticating
                                         withdrawn Mr. Jordan’s cellphone          testimony would
                                         records, so they should not be able to    be contrary to
                                         complain that Defendants intend to        FRE 901(a) and
                                         use these text messages to show they      extremely
                                         did not include crash site photos. As     prejudicial to
                                         for Plaintiffs’ foundation and            Plaintiffs.
                                         authentication objections, Mr.
                                         Jordan can provide any necessary
                                         foundation and authentication at
                                         trial. Exhibit 694 is also not unfairly
                                         prejudicial; it is highly probative
                                         evidence refuting Plaintiffs’ sharing
                                         theory based on cell phone records.


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                                                      #:31411

                                            If Objection,                                               Grounds for
Ex.
      Description             Witness       Grounds for               Response to Objection            Refusing to Stip.   Court’s Ruling
No.
                                              Objection                                                to Authenticity
                                                                As for the notation Mr. Jordan made
                                                                when producing these documents,
                                                                Defendants agree it may be redacted.




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                                  #:31412



  1 DATED: August 8, 2022              WILSON SONSINI GOODRICH & ROSATI
  2
  3
                                       By:                   /s/ Luis Li
  4
                                                              LUIS LI
  5
  6                                    Attorneys for Plaintiff
                                       VANESSA BRYANT
  7
      DATED: August 8, 2022           JEROME M. JACKSON LAW OFFICES
  8
  9
 10
                                      By:            /s/ Jerome M. Jackson
 11                                                 JEROME M. JACKSON
 12
                                      JEROME M. JACKSON
 13                                   jmjlaw@aol.com
 14                                   JEROME M. JACKSON LAW OFFICES
                                      880 Apollo Street, Suite 238
 15                                   El Segundo, California 90245
 16                                   Telephone: (310) 726-4199
                                      Facsimile: (310) 414-0486
 17
 18                                   Attorneys for Plaintiff
                                      CHRISTOPHER L. CHESTER
 19
 20
 21
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                           FINAL EXHIBITS PRE-TRIAL STIPULATION
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                                  #:31413



  1 DATED: August 8, 2022              MILLER BARONDESS, LLP
  2
  3
                                       By:              /s/ Mira Hashmall
  4
                                                       MIRA HASHMALL
  5
  6                                    Attorneys for Defendants
                                       COUNTY OF LOS ANGELES, LOS
  7                                    ANGELES COUNTY FIRE DEPARTMENT,
  8                                    JOEY CRUZ, RAFAEL MEJIA, MICHAEL
                                       RUSSELL, RAUL VERSALES, ARLIN
  9                                    KAHAN, and TONY IMBRENDA
 10
 11 DATED: August 8, 2022              OFFICE OF COUNTY COUNSEL
 12
 13
                                       By:           /s/ Jonathan C. McCaverty
 14
                                                   JONATHAN C. McCAVERTY
 15
                                       Attorneys for Defendant
 16
                                       LOS ANGELES COUNTY SHERIFF’S
 17                                    DEPARTMENT
 18
 19
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                           FINAL EXHIBITS PRE-TRIAL STIPULATION
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  1                                FILER ATTESTATION
  2        I, Luis Li, attest under Local Rule 5-4.3.4(a)(2)(i) that all other signatories
  3 listed, and on whose behalf the filing is submitted, concur in the filing’s content and
  4 have authorized this filing.
  5
  6   Dated: August 8, 2022                                      /s/ Luis Li
                                                                   Luis Li
  7
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                              FINAL EXHIBITS PRE-TRIAL STIPULATION
